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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN (COLUMBUS) DIVISION


Edward Gonzales,
Kent Kilgore,
Adam Plouse,
John Antognoli,
Roger Beedon,
Daniel Ritchie,
Michael Schyck,
Dr. Mark Chrystal,
Joel Davis,
Michael Alf,
Gary Till,
Chris Armstrong,
Allan Novakowski, and
John Does 1-2, 4-6, 8, 10-15, 17, 19,
21-25, 27, 29-33, 35-46, 48, 50-51,
53, 56-59, 61-62, 64, 69, 75, 77,
85, 86, 88-97, 99, 101,
individually and
on behalf of all others similarly situated,         CIVIL CASE NO.: ______________1

         Plaintiffs,
                                                    Previously filed as:
vs.                                                    2:18-cv-00692-MHW-EPD
                                                       2:21-cv-2542-MHW-EPD
The Ohio State University,

         Defendant.                                 JURY TRIAL DEMANDED


                         CONSOLIDATED CLASS ACTION COMPLAINT
                              REFILED BY ORDER OF COURT




1
 Per the Court’s August 28, 2023 Order [Doc. 214] in 2:18-cv-00692-MHW-EPD, attached as Exhibit
1, this newly-opened case consolidates amended class action complaints previously filed as Case No.
2:18-cv-00692-MHW-EPD (Garrett, et al. v. OSU, filed July 16, 2018) and Case No. 2:21-cv-2542-
MEW-EPD (Alf et al. v. OSU, filed May 14, 2021), which were dismissed but reversed and remanded
by Garrett v. Ohio State Univ., 60 F.4th 359 (6th Cir.), cert. denied sub nom. The Ohio State Univ. v.
Gonzales, 143 S. Ct. 2659 (2023). See also Snyder-Hill v. Ohio State Univ., 48 F.4th 686 (6th Cir.
2022), cert. denied sub nom. The Ohio State Univ. v. Steve Snyder-Hill, 143 S. Ct. 2659 (2023).
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                                          INTRODUCTION

       1.          The Ohio State University is a preeminent undergraduate and graduate research

university and a perennial athletic powerhouse.

       2.          As detailed in the original complaint filed on July 16, 2018 in Case No. 2:18-cv-

00692-MHW-EPD and in this Consolidated Class Action Complaint, newly filed per Court Order,

the seventy-eight (78) men herein, like all members of the class, came to OSU as starry-eyed teens

to get an education, have a college experience, or to be Division 1 athletes, and were—as part of the

OSU experience—subjected to the worst serial sexual predator in American college sports history.

       3.          When each of these innocent young male students encountered Dr. Strauss—

OSU’s associate professor of medicine, official team doctor for as many as fourteen sports, student

health center physician, and eventually professor emeritus—they encountered a demented physician

who subjected them to prolonged, repeated, disturbing, inappropriate, and criminal sexual abuse

under the guise of “examination” or “treatment.”

       4.          What these students didn’t know when they arrived in Columbus – and what they

would not discover until the 2018 announcement of OSU’s investigation (at the earliest) or fully

realize until May, 2019, when Perkins Coie issued its Report—was that other doctors, program

directors, head coaches, trainers, and officials across the OSU campus were aware of student

complaints about Strauss but that OSU—over the course of decades—ignored, rebuffed,

discouraged, dismissed, concealed and silenced these complaints.

       5.          What these male students didn’t know – at the time Strauss abused them, or at

any time until the 2019 Perkins Coie report came out – was that rather than respond immediately

and appropriately to the first report of abuse (which occurred in 1979, Strauss’s first year on the

job) OSU as an institution deliberately turned a blind eye to sexual harassment, abuse, and


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misconduct by Strauss for the next twenty years; it had no policies in place for handling or

responding to reports of sexual abuse or harassment, it failed to alert authorities, it failed to

discipline, fire, revoke or suspend Strauss’s privileges, it failed to report him to the medical board

or to law enforcement, and, as testimony reveals, it kept Strauss’s colleagues and supervisors in the

dark about how dangerous Strauss was to the student body.

         6.         Dr. Ted Grace, Director of OSU Student Health Services [1992-2007], handled

three different complaints from students in 1995 and 1996 about Strauss sexually assaulting them,

yet never fully revealed this information with his colleagues or subordinates:

                     Q: “Is there any way any Ohio State student could have known that
                    their university failed on the job for 20 years to get rid of this sexual
                    predator?”
                     MR. CARPENTER: Object to the form of the question.
                     A: “I don't know of any way.”2
                  -Dr. Ted Grace, former Director of OSU Student Health Services


         7.         Dr. Roger Miller, Chief of Preventative Medicine, OSU Student Health Services

[1994-1996] and Lead Physician, OSU Student Health Services [1996-1997], worked side-by-side

with Grace, but testified that the first time even he knew about the extent and number of reports

made to Grace at Student Heath about Strauss was when he read the Perkins report in 2019:

                    Q: “Reading Perkins Coie you came to learn that Dr. Strauss started
                    abusing patients in the late 1970s; correct?”
                     A: “Yes.”
                     Q: “That's not information you knew before; right?”
                     A: “That's correct.”
                    …
                    Q: “And is there any way OSU -- any OSU student could have known
                    that Dr. Strauss was a sexual predator against students for over 20 --
                    for approximately 20 years before OSU got rid of him?”
                    A: “I don't believe they would have known.”3


  2
      Grace Dep. 307: 10-15. Nov. 20, 2019.
  3
      Miller Dep. 314: 4-17, Nov. 12, 2019.

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                  –Dr. Roger Miller, former Chief of Preventative Medicine, OSU
                  Student Health and former Lead Physician, OSU Student Health

         8.        In 1994, Dr. John Lombardo, Director of OSU Sports Medicine [1990-2004],

investigated what he characterized as “pervasive” “rumors which have been generated for 10 years

with no foundation” by speaking with Dr. Strauss, who acknowledged the rumors, and with Coach

Charlotte Remenyik, the OSU fencing coach who'd fielded many reports from her athletes.

Lombardo determined that Dr. Trent Sickles would treat the fencers, rather than Dr. Strauss. He

testified that he told no one, and knew of no obligation or procedure to do so.

                  Q.: “When you worked at OSU, if you yourself witnessed sexual abuse
                  of a patient by a doctor, did you understand that you had any reporting
                  obligations to anybody?”
                  A.: “No. . . .”
                  –Dr. John Lombardo, former Director of OSU Sports Medicine


         9.        Dr. Trent Sickles, Medical Director, OSU Sports Medicine and Family Health

[1995-2004], testified that his supervisors failed to inform him of any student complaints against

Strauss and never told him why he replaced Strauss as the fencing team doctor:

                    Q: “No one in the University gave you the slightest inkling that the
                    administration knew about it and did nothing about it?”
                    A: “That's correct.”
                    …
                    Q: “And if you didn't know about it, there's no way that any student
                    at Ohio State would have the slightest idea that there was a sexual
                    predator at Ohio State, correct?
                    A: “I -- I don't know what the students would have known.”
                    …
                    Q: “Well, you didn't know?
                    A: “I did not know.” 4
                 -Dr. Trent Sickles, former Medical Director, OSU Sports Medicine and
                 Family Health




  4
      Sickles Dep. 142: 25, 143: 1-15. Nov. 21, 2019

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        10.        It wasn’t until May of 2019—more than twenty (20) years after Strauss left OSU,

more than a decade after Strauss took his own life, and more than a year after a whistleblower came

forward to publicly disclose his abuse, awakening other survivors to admit they too had been

victimized not only by Strauss but by OSU—that the seventy-eight men bringing this lawsuit on

behalf of a class of an untold number of other victims, discovered OSU’s widespread, institutional

deliberate indifference to Strauss’s dangerous proclivities, which left them vulnerable and

susceptible to sexual assault.

        11.        The far-ranging, 232-page Report5 released by OSU’s hired-gun investigators,

law firm Perkins Coie (the “Perkins Report”), confirmed: (a) that as far back as 1979, during

Strauss’s first year of employment at OSU, multiple OSU officials knew he was sexually assaulting

male students, and (b) the abuse of all Plaintiffs herein could have been prevented if OSU had

promptly taken appropriate action against Strauss.

        12.        In late 2019, as part of this litigation, OSU physicians who had refused to

participate in the Perkins Coie investigation were deposed. One after another, these doctors, who

had worked alongside Strauss in various OSU departments at different times, testified under oath

about the many ways in which OSU excused, dismissed, and shielded Strauss’s misconduct from

OSU students, the public and law enforcement officials, and how its failures directly resulted in

Strauss continuing to sexually harass, abuse, and sodomize hundreds, if not thousands, of OSU

students under the guise of his position.




  5
    See Funk, Markus and Caryn Trombino, Perkins Coie LLP, Report of the Independent
  Investigation, Sexual Abuse Committed by Dr. Richard Strauss at The Ohio State University, May
  15, 2019, (hereinafter “Perkins Coie Report”).

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       13.        Rather than stop Strauss upon hearing the first report of an inappropriate exam,

OSU continued to employ—or, more accurately, enable—a prolific sexual predator for twenty

more years and encouraged or required its students and student-athletes to obtain medical treatment

from him while ignoring or concealing reports about his abuses, and then gilded his legacy with

emeritus status and kept quiet about its role for another twenty years.

    14.           In discussing the importance of the Perkins Report to determine what OSU knew

and when, OSU President Michael Drake proclaimed in February 2019 that, “[u]pon completion

of the investigation, the university will address the past and continue to take action to support a

better and safer future.”

    15.           Plaintiffs and survivors are now asking OSU to make good on that promise.

    16.           As a result of OSU’s deliberate indifference, failures, and cover-up, which began

in 1978 and were uncovered only in 2019, Richard Strauss preyed on the OSU male student body

from 1979-1996. The seventy-eight men named herein and the class of OSU’s male students they

represent were:

          a.      Repeatedly rectally raped.

          b.      Drugged and sodomized.

          c.      Fellated.

          d.      Digitally penetrated with ungloved fingers into their anuses.

          e.      Fondled during required physicals.

          f.      Repeatedly subjected to Strauss grinding his erect penis into them.

          g.      Manually masturbated by Strauss, including students who were physically

                  incapacitated.



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             h.    Repeatedly psychologically tormented by Strauss showering with them, gawking

                   at them, commenting on their penis size and physical appearance and

                   masturbating in their presence.

       17.         The unchecked sexual abuse of these many men, as young, teenage college

students by a university doctor is so horrifying, it shocks the conscience.

       18.         Dr. Richard Strauss is dead. He can’t pay for his crimes.

       19.         OSU, recently unmasked as the institution that shielded this predator and

betrayed so many students for so many decades, steadfastly hides behind the statute of limitations—

as if OSU’s refusal to do the right thing for long enough should wash away its sins.

       20.         For at least forty years—from 1978 until it undertook an investigation in 2018—

the University was deliberately indifferent to the safety of its student body by failing to investigate

the many complaints of Dr. Strauss’s misconduct and harassment, failing to share reports, failing to

report to the State Medical Board or to law enforcement, or to restrict or remove Strauss from his

position. Had it met its obligation to do so—an obligation that is not only social and moral, but also

legal—the assault, molestation, and suffering of the Plaintiffs herein would have been prevented.

       21.         Dr. Strauss was employed by Defendant The Ohio State University to provide

medical care and treatment to OSU’s students and student-athletes for twenty years. OSU made him

an assistant professor of medicine and the official sports team doctor. OSU also employed Dr. Strauss

to serve as a physician at OSU’s Student Health Services.

       22.         As a sports team doctor and assistant professor, Dr. Strauss was clothed in the

authority and legitimacy of Ohio State. He was not just a medical doctor—he was Ohio State’s

official medical doctor.

       23.         Dr. Strauss used his position of trust and confidence to regularly and


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systematically sexually assault, abuse, batter, molest, and harass male students, student-athletes, non-

students as young as 14 invited onto the campus, non-students on OSU sponsored trips off-campus

to high schools throughout Ohio, and others over the course of his career in his capacity as an

employee, agent, and/or representative of OSU.

       24.          Without OSU’s imprimatur, Strauss would not have had access to the OSU male

students upon whom he preyed.

       25.          Despite being repeatedly informed of Dr. Strauss’s sexual assault, abuse, battery,

molestation, and/or harassment, OSU failed to take appropriate action (or, in fact, any action

whatsoever) to prevent, limit, or stop Dr. Strauss, to change the sexually hostile culture on campus,

or to ensure the safety of its male students.

       26.          These failures have continued. In the twenty years since Dr. Strauss’s tenure at

OSU ended, OSU has taken no action to change the culture of indifference that allowed Dr. Strauss

to assault OSU students for decades.

       27.          With this suit, Plaintiffs seek to hold OSU accountable for its failures, and to

ensure that something like this can never happen again.


                                    JURISDICTION AND VENUE

       28.          Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs, including those set forth in the parties’ originally allegations previously filed as Case

No. 2:18-cv-00692-MHW-EPD (Garrett, et al. v. OSU, filed July 16, 2018) and Case No. 2:21-cv-

2542-MHW-EPD (Alf et al. v. OSU, filed May 14, 2021).

       29.          This action is brought pursuant to Title IX of the Education Amendments of

1972, 20 U.S.C. § 1681 et seq., as more fully set forth herein.



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        30.          This Court has subject matter jurisdiction over this action under numerous statutes,

including 28 U.S.C. § 1331 ( federal question jurisdiction).

        31.          Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the events

giving rise to Plaintiffs’ claims arose in this judicial district.

                                                   PARTIES

           32.       Plaintiffs incorporate by reference the allegations contained in the previous

  paragraphs, including those set forth in the parties’ originally allegations previously filed as Case

  No. 2:18-cv-00692-MHW-EPD (Garrett, et al. v. OSU, filed July 16, 2018) and Case No. 2:21-

  cv-2542-MHW-EPD (Alf et al. v. OSU, filed May 14, 2021).

           33.       Plaintiffs have one common characteristic—every Plaintiff herein is a former OSU

  student or student-athlete whose life was permanently altered and whose educational benefits were

  denied by the actions, inactions, and deliberate indifference of OSU.

           34.       Every Plaintiff herein was sodomized or molested or penetrated or assaulted or

  groped or subjected to voyeurism or lewd comments by OSU’s Dr. Richard Strauss, and this abuse

  could have been prevented had OSU timely acted on reports or notice of prior abuse.

           35.       Plaintiff Ed Gonzales is a resident of the State of Ohio and a former student-athlete

  on OSU’s track team. Ed was sexually assaulted, battered, molested, and/or harassed by Dr.

  Strauss during examinations in the 1990s.

           36.       Plaintiff Kent Kilgore is a resident of the State of Florida and a former student-

  athlete on OSU’s swim team. Kent was sexually assaulted, battered, molested, and/or harassed by

  Dr. Strauss during examinations in the 1980s.

           37.       Plaintiff Adam Plouse is a resident of the State of Ohio, and a former student-

  athlete on OSU’s wrestling team. Adam was sexually assaulted, battered, molested, and/or



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harassed by Dr. Strauss during examinations in the 1990s.

       38.      Plaintiff John Antognoli (formerly John Doe 34) is a resident of the State of

Colorado and a former student-athlete on OSU’s volleyball team during the 1990s. John was

sexually assaulted, battered, molested, and/or harassed by Dr. Strauss during his time at OSU.

       39.      Plaintiff Roger Beedon (formerly John Doe 3) is a resident of the State of

Michigan and a former student-athlete on OSU’s varsity hockey team during the late 1980s. Roger

was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss during his time at OSU.

       40.      Plaintiff Dan Ritchie (formerly John Doe 16) is a resident of the State of Ohio and

a former student-athlete on OSU’s wrestling team in the 1990s. Dan was sexually assaulted,

battered, molested, and/or harassed by Dr. Strauss during his time at OSU.

       41.      Plaintiff Mike Schyck (formerly John Doe 18) is a resident of the State of Florida

and a former student-athlete on OSU’s wrestling team in the 1990s. Mike was sexually assaulted,

battered, molested, and/or harassed by Dr. Strauss during his time at OSU.

       42.      Plaintiff Dr. Mark Chrystal is a resident of the State of Pennsylvania, and a former

student-athlete on OSU’s soccer team in the 1990s. Mark was sexually assaulted, battered,

molested, and/or harassed by Dr. Strauss during his time at OSU.

       43.      Plaintiff Joel Davis is a resident of the State of Ohio and a former student-athlete

on OSU’s swim team in the 1990s. Joel was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       44.      Plaintiff Michael Alf is a resident of the State of Illinois and a former student-

athlete on OSU’s wrestling team. Michael was sexually assaulted, battered, and molested by Dr.

Strauss during examinations between 1988 and 1992.

       45.      Plaintiff Gary Till is a resident of the State of Ohio and a former student at OSU.




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Gary was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss during

examinations in the 1980s.

       46.      Plaintiff Chris Armstrong is a resident of the State of California and a former

student at OSU. Chris was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss

during examinations in the 1980s.

       47.      Plaintiff Allan Novakowski is a resident of British Columbia, Canada, and a

former student-athlete on OSU’s ice hockey team. Allan was sexually assaulted, battered,

molested, and/or harassed by Dr. Strauss during examinations while attending OSU.

       48.      Plaintiff John Doe 1 is a resident of the State of Ohio and a former student-athlete

on OSU’s soccer team in the 1990s. He was sexually assaulted, battered, molested, and/or harassed

by Dr. Strauss during his time at OSU.

       49.      Plaintiff John Doe 2 is a resident of the State of Ohio and a former student at OSU

from 1991 to 1997. He was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss

during his time at OSU.

       50.      Plaintiff John Doe 4 is a resident of the State of Ohio and a former student-athlete

on OSU’s wrestling team. He was sexually assaulted, battered, molested, and/or harassed by Dr.

Strauss during his time at OSU.

       51.      Plaintiff John Doe 5 is a resident of the State of Ohio and a former student-athlete

on OSU’s swimming team. He was sexually assaulted, battered, molested, and/or harassed by Dr.

Strauss during his time at OSU.

       52.      Plaintiff John Doe 6 is a resident of the State of Ohio and a former student-athlete

on OSU’s wrestling team. He was sexually assaulted, battered, molested, and/or harassed by Dr.

Strauss during his time at OSU.




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       53.      Plaintiff John Doe 8 is a resident of the State of Ohio and a former student-athlete

on OSU’s wrestling team for one year in the 1980s. He was sexually assaulted, battered, molested,

and/or harassed by Dr. Strauss during his time at OSU.

       54.      Plaintiff John Doe 10 is a resident of the State of New Jersey and a former student-

athlete on OSU’s fencing team. He was sexually assaulted, battered, molested, and/or harassed by

Dr. Strauss during his time at OSU.

       55.      Plaintiff John Doe 11 is a resident of the State of North Carolina and a former

student-athlete on OSU’s gymnastics team. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       56.      Plaintiff John Doe 12 is a resident of the State of Ohio and a former student-athlete

on OSU’s wrestling team. He was sexually assaulted, battered, molested, and/or harassed by Dr.

Strauss during his time at OSU.

       57.      Plaintiff John Doe 13 is a resident of the State of Ohio and a former student-athlete

on OSU’s lacrosse team. He was sexually assaulted, battered, molested, and/or harassed by Dr.

Strauss during his time at OSU.

       58.      Plaintiff John Doe 14 is a resident of the State of California and a former student

at OSU during the late 1970s-early 80s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       59.      Plaintiff John Doe 15 is a resident of the State of Ohio and a former student-athlete

on OSU’s volleyball team. He was sexually assaulted, battered, molested, and/or harassed by Dr.

Strauss during his time at OSU.

       60.      Plaintiff John Doe 17 is a resident of the State of Pennsylvania and a former

student-athlete on OSU’s lacrosse team. He was sexually assaulted, battered, molested, and/or




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harassed between ten and twenty times by Dr. Strauss during his time at OSU.

       61.     Plaintiff John Doe 19 is a resident of the State of Colorado and a former student-

athlete on OSU’s soccer team in the mid-1980s. He was sexually assaulted, battered, molested,

and/or harassed by Dr. Strauss during his time at OSU.

       62.     Plaintiff John Doe 21 is a resident of the State of Ohio and a former student-athlete

on OSU’s soccer team. He was sexually assaulted, battered, molested, and/or harassed by Dr.

Strauss during his time at OSU.

       63.     Plaintiff John Doe 22 is a resident of the State of Ohio and a former student-athlete

on OSU’s club soccer team. He was sexually assaulted, battered, molested, and/or harassed by Dr.

Strauss during his time at OSU.

       64.     Plaintiff John Doe 23 is a resident of the State of Texas and a former student-

athlete on OSU’s track team. He was sexually assaulted, battered, molested, and/or harassed by

Dr. Strauss during his time at OSU.

       65.     Plaintiff John Doe 24 is a resident of the State of Maryland and a former student-

athlete on OSU’s tennis team. He was sexually assaulted, battered, molested, and/or harassed by

Dr. Strauss during his time at OSU.

       66.     Plaintiff John Doe 25 is a resident of the State of Ohio and a former student-athlete

on OSU’s soccer team during the early 1990s. He was sexually assaulted, battered, molested,

and/or harassed by Dr. Strauss during his time at OSU.

       67.     Plaintiff John Doe 27 is a resident of the State of Ohio and a former student-athlete

on OSU’s wrestling team in the 1980s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       68.     Plaintiff John Doe 29 is a resident of the State of California and a former student-




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athlete on OSU’s gymnastics team in the 1980s. He was sexually assaulted, battered, molested,

and/or harassed by Dr. Strauss during his time at OSU.

       69.      Plaintiff John Doe 30 is a resident of the State of California and a former student-

athlete on OSU’s lacrosse team in the 1980s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       70.      Plaintiff John Doe 31 is a resident of the State of Ohio and a former student-athlete

on OSU’s wrestling team in the 1990s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       71.      Plaintiff John Doe 32 is a resident of the State of Florida and a former student-

athlete on OSU’s diving team in the 1980s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       72.      Plaintiff John Doe 33 is a resident of the State of New York and a former student-

athlete on OSU’s tennis team in the 1980s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       73.      Plaintiff John Doe 35 is a resident of the State of Ohio and a former student-athlete

on OSU’s soccer team in the 1990s. He was sexually assaulted, battered, molested, and/or harassed

by Dr. Strauss during his time at OSU.

       74.      Plaintiff John Doe 36 is a resident of the State of Ohio and a former OSU student

in the 1980s. He was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss during

his time at OSU.

       75.      Plaintiff John Doe 37 is a resident of the State of Ohio and a former OSU student

in the 1980s. He was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss during

his time at OSU.




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       76.      Plaintiff John Doe 38 is a resident of the State of Texas and a former OSU student

in the 1990s. He was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss during

his time at OSU.

       77.      Plaintiff John Doe 39 is a resident of the State of North Carolina and a former

student-athlete on OSU’s baseball team in the 1990s. He was sexually assaulted, battered, molested,

and/or harassed by Dr. Strauss during his time at OSU.

       78.      Plaintiff John Doe 40 is a resident of the State of Ohio and a former OSU student

in the 1980s. He was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss during

his time at OSU.

       79.      Plaintiff John Doe 41 is a resident of the State of Oregon and a former student-

athlete on OSU’s gymnastics team in the 1980s. He was sexually assaulted, battered, molested,

and/or harassed by Dr. Strauss during his time at OSU.

       80.      Plaintiff John Doe 42 is a resident of the State of Ohio and a former student-athlete

on OSU’s wrestling team in the 1980s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       81.      Plaintiff John Doe 43 is a resident of the State of Georgia and a former student-

athlete on OSU’s baseball team in the 1980s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       82.      Plaintiff John Doe 44 is a resident of the State of Arizona and a former student-

athlete on OSU’s baseball team in the 1990s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       83.      Plaintiff John Doe 45 is a resident of the State of Ohio and a former student-athlete

on OSU’s wrestling team in the 1990s He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.


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       84.      Plaintiff John Doe 46 is a resident of the State of Ohio and a former student-athlete

on OSU’s wrestling team in the 1980s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       85.      Plaintiff John Doe 48 is a resident of the State of Arizona and a former student-

athlete on OSU’s track and field team in the 1980s. He was sexually assaulted, battered, molested,

and/or harassed by Dr. Strauss during his time at OSU.

       86.      Plaintiff John Doe 50 is a resident of the State of Texas and a former student-athlete

on OSU’s baseball team in the 1980s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       87.      Plaintiff John Doe 51 is a resident of the State of Maryland and a former student-

athlete on OSU’s gymnastics team in the 1990s. He was sexually assaulted, battered, molested,

and/or harassed by Dr. Strauss during his time at OSU.

       88.      Plaintiff John Doe 53 is a resident of the State of North Carolina and a former

student-athlete on OSU’s wrestling team in the 1980s-1990s. He was sexually assaulted, battered,

molested, and/or harassed by Dr. Strauss during his time at OSU.

       89.      Plaintiff John Doe 56 is a resident of the State of New Jersey and a former OSU

student. He was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss during his

time at OSU.

       90.      Plaintiff John Doe 57 is a resident of the State of Illinois and a former student-

athlete on OSU’s swim team in the 1990s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       91.      Plaintiff John Doe 58 is a resident of the State of Massachusetts and a former OSU

student who was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss during his

time at OSU.


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       92.      Plaintiff John Doe 59 is a resident of the State of Florida and a former student-

athlete on OSU’s lacrosse team in the 1990s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       93.      Plaintiff John Doe 61 is a resident of the State of Ohio and a former student-athlete

on OSU’s track and field team in the 1980s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       94.      Plaintiff John Doe 62 is a resident of the State of Colorado and a former student-

athlete on OSU’s wrestling team in the 1990s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       95.      Plaintiff John Doe 64 is a resident of the State of Maryland and a former student at

OSU in the 1990s. He was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss

during his time at OSU.

       96.      Plaintiff John Doe 69 is a resident of the State of Indiana and a former student-

athlete on OSU’s diving team in the late 1980s and early 1990s. He was sexually assaulted, battered,

molested, and/or harassed by Dr. Strauss during his time at OSU.

       97.      Plaintiff John Doe 75 is a resident of the State of Ohio and a former OSU student

athlete on OSU’s gymnastics team in the 1980s-1980s. He was sexually assaulted, battered,

molested, and/or harassed by Dr. Strauss during his time at OSU.

       98.      Plaintiff John Doe 77 is a resident of the State of New Mexico and a former student-

athlete on OSU’s swim and dive teams in the 1980s-1990s. He was sexually assaulted, battered,

molested, and/or harassed by Dr. Strauss during his time at OSU.

       99.      Plaintiff John Doe 85 is a resident of the State of Florida and a former student-

athlete on OSU’s golf team in the 1980s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.


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       100.     Plaintiff John Doe 86 is a resident of the State of Ohio and a former student at OSU

in the 1990s. He was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss during

his time at OSU.

       101.     Plaintiff John Doe 88 is a resident of the State of Pennsylvania and a former

student-athlete on OSU’s gymnastics team in the 1980s. He was sexually assaulted, battered,

molested, and/or harassed by Dr. Strauss during his time at OSU.

       102.     Plaintiff John Doe 89 is a resident of the State of Ohio and a former student-athlete

on OSU’s tennis team in the 1980s. He was sexually assaulted, battered, molested, and/or harassed

by Dr. Strauss during his time at OSU.

       103.     Plaintiff John Doe 90 is a resident of the State of Ohio and a former student-athlete

on OSU’s hockey team in the 1990s. He was sexually assaulted, battered, molested, and/or harassed

by Dr. Strauss during his time at OSU.

       104.     Plaintiff John Doe 91 is a resident of the State of Ohio and a former student-athlete

on OSU’s hockey team in the 1990s. He was sexually assaulted, battered, molested, and/or harassed

by Dr. Strauss during his time at OSU.

       105.     Plaintiff John Doe 92 is a resident of the State of Florida and a former student-

athlete on OSU’s wrestling team in the 1980s. He was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       106.     Plaintiff John Doe 93 is a resident of the State of Oregon and a former student-

athlete on OSU’s lacrosse team. John Doe 93 was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during examinations in the 1980s.

       107.     Plaintiff John Doe 94 is a resident of the State of California and a former student

at OSU. John Doe 94 was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss




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during examinations while attending OSU.

       108.     Plaintiff John Doe 95 is a resident of the State of Oregon and a former student at

OSU. John Doe 95 was sexually assaulted, battered, molested, and/or harassed by Dr. Strauss

during examinations in the late 1980s and early 1990s.

       109.     Plaintiff John Doe 96 is a resident of the State of Ohio and a former student-athlete

on OSU’s baseball team. John Doe 96 was sexually assaulted, battered, molested, and/or harassed

by Dr. Strauss during examinations in the 1990s.

       110.     Plaintiff John Doe 97 is a resident of the State of Arizona and a former student-

athlete on OSU’s gymnastics team. John Doe 97 was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during examinations while attending OSU.

       111.     Plaintiff John Doe 99 is a resident of the State of Ohio and a former student-athlete

on OSU’s lacrosse team. John Doe 99 was sexually assaulted, battered, molested, and/or harassed

by Dr. Strauss during examinations while attending OSU.

       112.     Plaintiff John Doe 101 is a resident of the State of Ohio and a former student-

athlete on OSU’s soccer team. John Doe 101 was sexually assaulted, battered, molested, and/or

harassed by Dr. Strauss during his time at OSU.

       113.     Numerous other unnamed individuals, some known to Counsel some not, were

also sexually assaulted, battered, molested, and/or harassed by Dr. Strauss during their time as

students at OSU.

       114.     Defendant The Ohio State University is the biggest and richest University in the

Big Ten Conference with an annual budget of $7 billion managed by the Board of Trustees

composed of some of the largest and most powerful businesses in Ohio.

       115.     Defendant The Ohio State University (“OSU” or “Ohio State”) is and at all




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  relevant times has been a state-owned and operated public university and institution of higher

  education organized and existing under laws of the State of Ohio. OSU receives federal financial

  assistance and is therefore subject to Title IX, 20 U.S.C. § 1681, et seq.

       116.        At all times relevant hereto, Richard Strauss, M.D. was an actual and/or

apparent, duly authorized agent, servant and/or employee of OSU and performed medical services

for OSU student-patients and members of the university community as part of his employment.

       117.        At all times relevant hereto, Defendant Ohio State was complicit and deliberately

indifferent to the sexual assault and harassing conduct of Dr. Strauss.

           118.    At all times relevant hereto, Defendant Ohio State was complicit and deliberately

  indifferent to reports it received regarding Dr. Strauss’s sexually harassing conduct.

                   FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

      I.      OSU Employed a Serial Sexual Predator As Its Sports Team Doctor and Student
              Health Services Physician and, By Doing Nothing When On Notice About It,
              Actually Enabled and Empowered the Sexual Predator

       119.        Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs, including those set forth in the parties’ originally allegations previously filed as Case

No. 2:18-cv-00692-MHW-EPD (Garrett, et al. v. OSU, filed July 16, 2018) and Case No. 2:21-cv-

2542-MHW-EPD (Alf et al. v. OSU, filed May 14, 2021).

       120.        OSU did nothing to ensure that Dr. Strauss was not a sexual predator and

established no safeguards for students if he was.

       121.        Indeed, OSU never took action to protect students, rather at every opportunity,

OSU protected and enabled predator Strauss.

       122.        Dr. Strauss was a prolific sexual predator—he is estimated to have sexually

assaulted, abused, battered, molested, and/or harassed up to 3,000 male student-athletes and others



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during his 20-year tenure at OSU.6

            123.    This abuse began his very first year of employment at OSU, and he continued

  sodomizing, fondling, groping, sexually assaulting, and harassing OSU’s male students and

  student-athletes until he was allowed to retire in 1998.7 He did so with OSU’s knowledge and

  support—and even earned emeritus status.

            124.    The Perkins Report confirmed, “University personnel had knowledge of Strauss’

  sexually abusive treatment of male student-patients as early as 1979”.8

            125.    As highlighted by the Report and the stories that the survivors are now telling,

  OSU knew or should have known from the beginning that Strauss was a sexual predator.

            126.    Over the forty years since OSU hired Strauss, OSU played a key and active role

  in normalizing and perpetuating Dr. Strauss’s serial sexual abuse.

            127.    OSU facilitated his abuse by requiring that student-athletes undergo annual

  physical exams with Dr. Strauss in order to participate in OSU athletics and maintain their

  scholarships.

            128.    His notoriously hands-on examinations earned him different nicknames over the

  years, including “Dr. Jelly Paws,” “Dr. Drop-Your-Drawers,” “Dr. Nuts,” and “Dr. Cough.”

            129.    These were nicknames well-known by OSU coaching staff, trainers, and student

  athletes.

        A. OSU Fostered a Sexually Hostile Environment in Larkins Hall Locker Room and Showers
           in Which Strauss Thrived


  6
    This is based on men’s sports team lettermen rosters from 1978-1998, which do not even
  encompass all athletes who would have been exposed to Dr. Strauss, and the additional student
  victims at the University Hospital, Student Health Center, and off-campus Men’s Clinic.
  7
   See infra, Sec, II, describing molestation of the plaintiff representatives herein beginning with
  Kent Kilgore in 1981, through Brian Garrett in 1996.
  8
      Perkins Coie Report of the Independent Investigation, p. 1.

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         130.   Throughout the 80s and 90s, Dr. Strauss was a fixture in the locker rooms,

showers, and saunas of Larkins Hall.

         131.   Dr. Strauss thrived at Larkins Hall. Like many sexual predators, once he selected

his prey, he took steps to groom them for abuse.

         132.   Dr. Strauss would shower with athletes after workouts at the Larkins facility, and

had his locker in the students’ locker room.

         133.   Dr. Strauss generally showered multiple times daily—a shower with each team—

where he would wash himself while staring at the showering athletes.

         134.   On many occasions, Dr. Strauss would postpone performing medical treatments

after practice so that he could shower with the wrestling team.

         135.   Dr. Strauss also scheduled his showers so that he could view his favorite athletes

naked.

         136.   In one instance, Dr. Strauss had just finished showering, had dressed, and was

leaving the locker room. As Dr. Strauss was exiting the locker room, one of his favorite wrestlers

entered and prepared to shower. Dr. Strauss immediately undid his tie, returned to his locker,

undressed, and joined the athlete in the shower, his second shower in a matter of minutes.

         137.   Dr. Strauss once moved his locker to be next to the locker of one of his favorite

wrestlers, who, according to another former wrestler, looked like an “Abercrombie & Fitch

model.”

         138.   One victim recounted the extreme emotional and psychological toll that he

experienced as a result of seeing Strauss in the showers and locker room every day. He recalled

how mentally taxing it was to constantly witness an authority figure nude, gawking at the students

and masturbating, and how it would wear on him daily to know that Strauss was waiting every day



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in the locker room after practice.

        139.    Strauss’s steadfast presence in the student-athlete showers was known and

acknowledged by many OSU employees who could have taken steps to stop it, but didn’t.

        140.    Ohio State demolished Larkins Hall in 2005, the same year Dr. Strauss took his

own life.

    B. OSU Required Sports Physicals During Which Strauss Abused Student Athletes

        141.    Dr. Strauss took his harassment a step further behind the closed door of his on-

campus examination room.

        142.    Ohio State required student-athletes to undergo physical examinations by Dr.

Strauss at least once per season, and sometimes more often.

        143.    During these required examinations, Dr. Strauss forced male student-athletes to

undress from the waist down and submit to invasive and medically unnecessary examinations,

during which he would touch and fondle their genitalia and digitally penetrate their anuses, often

telling the athletes that he was checking for hernias.

        144.    There was no medical necessity for Dr. Strauss’s examination, touching, and

fondling of male student athletes’ genitalia or digital anal penetration during the required periodic

physical examinations—Dr. Strauss did it for his own personal, sexual gratification.

        145.    This behavior persisted throughout Strauss’s entire tenure at OSU.

        146.    One former athlete described the first time he was examined by Dr. Strauss: “I’m

sitting, and he straddled my thigh, mounted my thigh. Rubbed on my thigh. I was just frozen,” the

athlete said.

        147.    Dr. Strauss then asked the athlete to get naked so Dr. Strauss could check for a

sports hernia. The athlete said Strauss proceeded to “inspect my penis in detail” for a significant




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amount of time.

       148.       Dr. Strauss gave the athlete a physical again the next year. It lasted about 20

minutes, 15 minutes of which involved Dr. Strauss closely inspecting his genitalia.

       149.       The athlete remembers being concerned at the time, but alarms were raised the

next year when another doctor gave the athlete a physical. It lasted only five minutes.

       150.       The athlete recalls thinking at the time, “No hernia test, didn’t get naked. Is that

it?”

       “Then I was like, ‘Holy moly,’” the athlete said.

       “I was always afraid. [Strauss] was the leading doctor on steroid use in the world, and I
       was always like, he could always say that medically there’s some reason that he needs to
       spend 15 minutes on my penis,” the athlete said. “He could have said that, and he’s dead
       now, but that’s what always scared me. But now I’m like, that’s crazy. Especially when
       that other doctor came in in five minutes and checked me out.”

       151.       As the former athlete explained, he felt powerless to stop Strauss’s abuse:

       “Someone had to make that decision [to let Strauss continue conducting physicals],” the
       athlete said. “Let’s say he’s a great doctor, fine. He doesn’t have to do the physicals,
       because it’s like someone was pretty much feeding us to him. I didn’t have a choice to say,
       ‘I want somebody else to do my physical’ because I didn’t feel like I had any power in that
       position.”

       152.       Indeed, Ohio State fed its students and student-athletes to Dr. Strauss; these

students were particularly vulnerable to abuse.

       153.       Many of the student-athletes depended on athletic scholarships to attend Ohio

State, scholarships which were contingent on playing by the school’s rules, including the

requirement to undergo physical examinations by Dr. Strauss.

       154.       One athlete asked if he could get his mandatory yearly physical exam elsewhere

but was told he had to see Dr. Strauss. These were the longest exams he had ever experienced, and

always included a “hernia check.”




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    C. Abuse Not Confined to Annual Physicals – Team Doctor’s Treatment for the Common Cold
       Required Student Athletes to Drop Their Shorts

        155.     But Dr. Strauss did not confine his abuse to the periodic physical examinations

required by Ohio State.

        156.     Ohio State allowed Dr. Strauss to treat student-athletes for sports injuries and

everything else—from heartburn to sprained ankles.

        157.     Regardless of the ailment, Dr. Strauss’s treatment of male student-athletes almost

always included examination, touching, and fondling of their genitalia, and it frequently included

digital anal penetration.

        158.     A former OSU gymnast, and Plaintiff herein, specifically recalls any time he saw

Strauss for a medical issue, whether it was an annual physical, a broken bone, or an ear infection,

he was required to disrobe and endure an extended and uncomfortable examination of his lower

body.

        159.     A former wrestler recalls Dr. Strauss approaching him in Larkins Hall and

suggesting that, if he would come to the health center, Dr. Strauss could write him a prescription

for acne. When he did so, Dr. Strauss had him disrobe and lay down on the examination table. Dr.

Strauss inspected and fondled the athlete for five minutes, trying to bring him to an erection. When

he was unsuccessful, he wrote the prescription for acne medication and the student left.

        160.     Some athletes saw it as the price of getting treatment.

        161.     Ohio State forced student-athletes to make a chilling decision: either seek

treatment from Dr. Strauss and submit to his molestation or forego treatment and live with illness

or injury.

        162.     Athletes had to receive physicals before competing, whether or not they were

injured, which meant that systematic sexual abuse from Dr. Strauss was inevitable under the



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Devil’s bargain Ohio State forced them to make with themselves.

       163.       With their collegiate athletic careers and scholarships on the line, many athletes

sought treatment from Dr. Strauss for their physical conditions, at a high cost to their mental and

emotional health.

   D. OSU Gave Strauss Broader Access to the General Student Population by Employing Him
      at the Campus Health Clinic

       164.       OSU also permitted Dr. Strauss to treat nonathletes at OSU’s Student Health

Services campus health clinic until complaints led OSU to relegate Dr. Strauss to serving only its

athletic teams.

       165.       One Plaintiff went to the campus health clinic with what he believed was strep

throat. Dr. Strauss required him to disrobe, and ultimately fondled him to erection and ejaculation.

The student had to remind Dr. Strauss to do the strep swab before leaving.

       166.       One Plaintiff saw Dr. Strauss at the OSU health center in the 1990s for burning

with urination. Dr. Strauss digitally penetrated his anus, under the guise of checking his prostate,

and commented “Don’t worry, this sometimes makes guys ejaculate.” On a follow-up visit, Dr.

Strauss fondled the student to ejaculation. This student did not see a doctor for the rest of his

college career, or for many many years after.

       167.       One Plaintiff remembers seeing Dr. Strauss twice at the health clinic: on both

occasions, Dr. Strauss insisted on a very thorough genital examination and digitally penetrated his

anus. Strauss told the man it was usual and customary to get an erection during the exam, and not

to worry if he did.

       168.       According to a nurse interviewed by Perkins Coie, 1990-1992 OSU student health

director Dr. Forrest Smith had notice about Strauss and received reports that Strauss would “show

up to the Student Health Center with male students and request access to an examination room”



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without adhering to “normal scheduling protocols and recordkeeping.” But Smith did nothing.

   E. Even Students Volunteering to Assist with OSU’s Medical Research Studies Become
      Victims

         169.    Even students who weren’t seeking medical care were victimized. Strauss, along

with OSU-tenured Department of Medicine physician Dr. William Malarkey (still a fixture at

OSU’s Wexner Medical Center) conducted various research studies on students, whom Strauss

victimized during the “research.”

         170.    A student-athlete who participated in a research study with Dr. Strauss told

Perkins Coie that Strauss would conduct a hernia exam on an “almost daily” basis as part of his

participation in the study.

         171.    The only witness to this abuse, Dr. Malarkey, refused to cooperate with Perkins

Coie.

         172.    When asked under oath what he was told about Dr. Strauss by other OSU officials,

Dr. Malarkey claimed he knew nothing about Strauss prior to the time they co-authored these

studies and was never alerted to the fact that OSU investigated three complaints of sexual

misconduct against Strauss in the 1990s, or that Strauss was eventually placed on administrative

leave.

         173.    Another survivor who participated in a study by Strauss which measured body fat,

recalled how Strauss would force him to take off all clothes and isolate him in a backroom alone.

         174.    Strauss would fondle his testicles, comment on the size of his testes and repeatedly

rub his chest and abs. Strauss would claim – and the student reasonably believed – it was all in the

name of the research—a study which measured body fat index.

         175.    This student believed he was helping contribute to a medical study; in reality, he

was falling into another avenue of abuse that OSU had paved for Strauss, hoping to benefit from



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  the prestige of another academic publication.

        II.       Timeline of OSU’s Deliberate Indifference to Sexual Abuse of its Students By Its
                  Sports Doctor and Clinic Physician

        A. Late 1970s

              176.    From 1978 to 1998, Strauss was the University’s team doctor and had contact with

  male athletes in baseball, cheerleading, cross country, fencing, football, gymnastics, ice hockey,

  lacrosse, soccer, swimming, tennis, track, volleyball, wrestling, and others. He was also a part-

  time physician with OSU’s Student Health Services.

              177.    In 1978—Dr. Strauss’s first year at Ohio State—Dr. Strauss fondled a former

  wrestling team captain during an exam. The wrestler left the exam and went to the Ohio State

  student health center where he complained about Dr. Strauss’s fondling to another doctor.

              178.    The doctor told the wrestler that the exam he described was “not normal.” But the

  doctor did nothing. Ohio State did nothing.

              179.    In 1979, a student trainer reported that OSU personnel in the Athletics Department

  and Sports Medicine program were aware that Strauss was conducting genital examinations on

  male athletes that were unusually prolonged, and that Strauss refused to allow athletic training

  staff to be present for these protracted genital examinations.9

        B. 1980s

       180.           In 1980, John Doe 37 arrived in Columbus from a foreign country, with little

money in his pocket, but big dreams that he almost abandoned because of sexual abuse by Dr. Richard

Strauss.

       181.           To help pay his tuition, John Doe 37 got a job at Larkins Hall, where Strauss




  9
      Id. at 2.

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stalked him.

       182.          “He had a crush on me, and he knew my work schedule,” John Doe 37 said. “On

the second floor of Larkins there was a small steam room and Strauss would always follow me there.”

       183.          John Doe 37 remembers the horrific unfolding of events: “[First] he masturbated

in front of me and then one day he came over, grabbed my legs and started giving me a massage.”

       184.          The groping and fondling were Strauss’s way of grooming John Doe 37 for the

most horrific experience of his life.

       185.          Richard Strauss anally sodomized John Doe 37 and forever changed his life.

       186.          “I was totally shocked when he violated me,” John Doe 37 remembers. “I went

home and cried. Then I called my dad and he wanted me to come home, but I didn’t want to quit. I

didn’t want Strauss to ruin my life.”

       187.          John Doe 37’s desire to succeed at OSU is the only thing that stopped his dad from

flying to Columbus and “kicking Strauss’s ass,” he said.

       188.          Even so, the stress of spending nearly 70 percent of his time at Larkins Hall made

John Doe 37’s life at The Ohio State University unbearable.

       189.          When the news of the Strauss scandal broke in April 2018, the horror came

flooding back. “When I saw his photo in the newspaper, I couldn’t sleep for days,” he said. To this

day, John Doe 37 is haunted by these memories.

              190.   Around the same time he was assaulting John Doe 37, in 1981, just three years

  into his employment with OSU, Strauss himself admitted that be began hearing the swirling of

  rumors about his proclivities during examinations.10

              191.   Also in 1981, Plaintiff Kent Kilgore was an incoming freshman walk-on with



  10
       Id. at 95.

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potential to earn a scholarship for swimming and was directed to Dr. Strauss for a physical.

        192.     Kent distinctly remembers all the older swimmers clearing the room and literally

running away when it was time for physical examinations with Strauss.

        193.     Kent recalls Strauss immediately instructing him to “drop ‘em” as soon as Kent

entered the exam room.

        194.     Dr. Strauss used no gloves. Dr. Strauss examined his anal region and inserted his

finger in Kent’s rectum.

        195.     Dr. Strauss fondled Kent’s genitals and held his penis “in his hand and played with

it like playdough.”

        196.     While at OSU, Kent had two “physicals” by Dr. Strauss.

        197.     Kent has not had a physical examination since, i.e., for more than 30 years, despite

suffering obvious medical symptoms and having medical conditions which require attention.

        198.     At the time, he thought that was just what you had to go through to be in a big

university.

        199.     Kent quit swimming, quit school, changed his life trajectory and has endured

lifelong distrust of authority in the years since.

        200.     Kent was abused by Strauss in 1981, and he has suffered deep and profound regret

that he was unable to do anything to stop Strauss and prevent him from abusing the hundreds of

subsequent victims. Kent’s wife summed it up perfectly: “We, my family and other families, are

living in the harm and malice of OSU’s lack of concern toward student safety and Richard Strauss’s

sexual deviancies toward young, innocent male athletes. We are now paying the price of OSU’s

indifference to Strauss’s predatorial tendencies.”

        201.     In 1982, OSU’s Student Health Center Sports Medicine Clinic Director David




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  Henderson drafted report criticizing the care being administered to student-athletes, stating

  “Strauss works for no one, answers to no one, and is accountable to no one” and concluding that

  patient visits had decreased 21% in Strauss's first year. This report was given to Dr. Bob Murphy,

  the head team physician and Director of Sports Medicine.11

             202.    In 1983, OSU Fencing Coach Charlotte Remenyik first received reports regarding

  Strauss when a fencer sought treatment for a foot injury and was forced to “drop his pants.”12

             203.    Similarly, John Doe 89 remembers his tennis teammates saying in 1983 “Drop

  your pants for a hernia exam, even though you have a cold” in reference to Strauss’s treatment.

             204.    John Doe 89 got his first physical from Strauss as an 18-year-old OSU freshman.

  He proceeded to be examined by Strauss for three years.

             205.    He recalls being “forced” to get his physical with Strauss, noting that if you didn’t

  get the physical, you weren’t allowed to play, and “Strauss was the only option.”

             206.    In 1984, Remenyik said that she received reports from fencers that Strauss was

  watching them take showers.13

             207.    1984 was also the year that idyllic freshman wrestler John Doe 56 arrived on

  OSU’s campus, where he was molested by Strauss for the next 4 years.

        208.         John Doe 56 remembers Strauss’s extreme touching and grabbing of genitals

during his physical every year in the mid-1980s, which were required of him to maintain his athletic

scholarship.

             209.    John Doe 56 underwent two surgeries during his time at OSU, and this gave



  11
       Id. at 116.
  12
    Governor’s Working Group on Reviewing the Medical Board’s Handling of the Investigation
  Involving Richard Strauss at 50.
  13
       Id.

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Strauss additional instances to abuse him. He recalled that each time he would need to get checked

or clearance from Strauss “to return to the mat,” a full genital exam was performed.

       210.     Jon Doe 56 remembered the experience vividly “Strauss’s favorite line was that

he always needed to check my lymph nodes. My experience was similar to just about all of the

other wrestlers during that time when it came to the touching and groping. In addition, the

atmosphere in the showers was a daily occurrence for my entire time on the team. He was always

first in the shower and last to leave, watching all of us while he lathered himself.”

       211.     In the mid-1980s, John Doe 48 was also repeatedly accosted by Strauss, during

his tenure as an OSU track and field athlete.

       212.     He recalls 10-12 athletes lined up in the hallways awaiting their assault by Strauss

one by one during the physicals mandated by the OSU athletics department.

       213.     John Doe 48 said he was groped and fondled by Strauss every time he needed an

annual physical, and the pervasiveness of Strauss’s abuse was widely discussed by his teammates.

       214.     John Doe 48’s teammates would refer to Strauss’s exams as the “giggle test”

which meant that Strauss had conducted an invasive and unnecessary genital exam.

       215.     John Doe 85 was an OSU golfer at this time, in the mid-1980s, and distinctly

remembers the feeling of being “violated” by Strauss his freshman year. After the first exam, he

recalls his only feeling as being “God no, never again.” Yet, he was exposed to Strauss again.

       216.     There was discussion amongst the golf team about something being wrong with

Strauss and John Doe 85 recalls discussing him with football and baseball players as well, yet OSU

officials never took action.

       217.     John Doe 85 says the golf team was grateful that their team wasn’t housed in

Larkins Hall or Woody Hayes, because they weren’t forced to see Strauss as often as other male




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sports teams. But even with his limited exposure to Strauss, the damage was done and John Doe

85 still has fear and trauma seeing any doctor today.

       218.     Plaintiff Roger Beedon describes how, when Roger came to play hockey at OSU

in the late 1980s, Dr. Strauss was in charge of checking for hernias during training camp and would

conduct physicals in a private room. During the examination, Dr. Strauss sat on a stool directly in

front of Roger, with his head at about the height of his penis. Dr. Strauss required him to

completely remove his shorts and underwear. After completing the hernia check, Dr. Strauss kept

Roger standing there for an uncomfortable period of time.

       219.     Dr. Strauss then asked, “How was your summer?” to which Roger responded, “It

was very good, thank you.” Then, using his entire hand, Dr. Strauss took Roger’s penis and lifted

it up towards his belly button, stroking it gently while inspecting Roger’s scrotum. During this

time, he placed his hands on Roger’s testicles several times as well.

       220.     In Roger’s opinion, Dr. Strauss was trying to stimulate him sexually.

       221.     After approximately 5-10 minutes had passed, Dr. Strauss replied, “It couldn't

have been too good, because I don’t see any diseases anywhere.” Roger laughed nervously

because he was unsure how to respond to this comment, which made him very, very

uncomfortable. Dr. Strauss then released his penis and said “everything is fine.” Roger believes

that the examination ended because Dr. Strauss was not able to arouse him sexually.

       222.     Strauss also isolated Roger on a Sunday at the OSU ice rink and photographed

Roger with his shirt off under the guise that Roger’s girlfriend and mother would like to receive

the photos.

       223.     Roger, along with a teammate, reported Dr. Strauss’s conduct then-assistant

athletic trainer (later Director of Athletic Training) Bill Davis, who expressed concern. But OSU




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did nothing.

          224.     In 1988, Student R and a teammate were questioned by trainer Bill Davis about

Strauss’s exams in detail. Student R remembered Davis being concerned and thought Strauss

would be fired or removed, but nothing ever happened.14

          225.     Also in 1988, an Assistant Coach corroborated that Student R reported to him

about Strauss and he met with Davis, the team’s athletic trainer, as well as the team's head coach

to discuss the report. Davis and the head coach decided that Strauss would never see an athlete

without a trainer present.15

          226.     Plaintiff Mike Schyck was a highly touted high school recruit and came to Ohio

State in 1988 to fulfill his dream of becoming an Olympic wrestler.

          227.     After he arrived on campus as a young freshman, Mike heard upper classman

“tease” underclassman about having to undergo physical exams by Dr. Strauss. They would say

things like, “Dr Touchy Feely is going to love you!” and “Dr. Jelly Fingers is going to grab your

balls!” So, even before entering the exam room with Strauss, Mike recalls being extremely anxious

and nervous, as well as embarrassed.

          228.     But he thought this exam was the price he had to pay to wrestle for OSU. Since

his older teammates had all endured it, he thought he had to endure Strauss as well.

          229.     Immediately upon entering the exam room, Strauss put his face in Mike’s groin

where he remained for several minutes in his efforts to get Mike aroused.

          230.     Mike informed Strauss that he had suffered a groin injury during high school,

which emboldened Strauss to further sexually abuse Mike under the guise of examining his prior



14
     Id. at 104.
15
     Id. at 105.

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injury.

          231.   Mike recalls the older wrestlers whistling when he left the exam room as an ode to

Strauss’s sexual abuse.

          232.   Mike endured numerous visits with Dr. Strauss where he unnecessarily examined

Mike’s privates over an 8-year period under the guise that Strauss needed to make sure nothing

had become “cancerous.”

          233.   Dr. Strauss used a locker directly next to Mike’s locker, and further subjected Mike

to psychological abuse by repeatedly getting undressed, showering with Mike and the other

wrestlers, and subjecting Mike to voyeurism and lewd comments.

          234.   Mike remembers that all athletes, coaches and any others who used the communal

showers would face the wall wile showering to maintain some level of privacy, while Strauss would

be the only person showering facing outwards so he could stare at the bodies of all the other men.

Often, he would have a noticeable erection.

          235.   Strauss would also join Mike and other athletes in the sauna, where he would be

the only person who was naked.

          236.   Mike, a two-time All-American wrestler at OSU, gave everything of himself—

physically and mentally—to the University he loved, and OSU betrayed him.

          237.   Mike still suffers with trust issues today because of the damage he endured due to

Strauss’s actions.

          238.   In 1989, another Team Physician recalled that he witnessed a student emerge from

an exam and announce to the training room that Strauss had inappropriately examined his genitals.

The team physician recalled speaking to the athletic trainer and the trainer reporting this




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information to Bob Murphy (head team physician) to be investigated.16

           239.    From the late 1980s to early 1990s, Assistant Athletic Director Larry Romanoff

reported Strauss showering with the students to Bob Murphy (head team physician)17 but the daily

showers continued.

      C. 1990s

           240.    In 1991, a Graduate Assistant Trainer reported to Dr. John Lombardo (head team

physician) concerns about the rumors regarding Strauss’s seemingly unnecessary genital exams

and the fact that Strauss insisted on one-on-one exams with the students.18

           241.    In the early 1990s, Student N personally spoke to Athletic Director Jim Jones and

Assistant AD Kate Riffee about the environment for student athletes and Strauss and why Strauss

had a locker at Larkins Hall. Student N recalls A.D. Jones being dismissive.19

           242.    Because his thesis centered around student-athletes and the pressures they faced,

this student presented his thesis to Jones and Riffee in conjunction with his inquiries about Strauss.

He asked why Strauss had a locker in Larkins Hall, which was designated for student-athletes.20

           243.    He remembers Jones being dismissive and not interested to the line of questioning,

instructing the student to “move on.”21

           244.    Assistant AD Kate Riffee recalled it being “a topic of conversation” among staff




16
     Id. at 101.
17
     Id. at 100.
18
     Id. at 102.
19
     Id. at 90.
20
     Id.
21
     Id.

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  members in Athletics that Strauss took long showers at Larkins with students.22

            245.    Plaintiff Ed Gonzales, a former student-athlete on OSU’s track team, was directed

  to Dr. Strauss for a physical as an incoming freshman at OSU in the early 1990s.

        246.        Dr. Strauss had Ed remove his clothing and Dr. Strauss stared at Ed’s testicles,

during which time Dr. Strauss put his face very close to Ed’s genitals and appeared to be attempting

to conceal his own erection, with Ed’s testicles in his hand for a very long period of time.

        247.        Dr. Strauss then massaged Ed’s chest for an inappropriate amount of time and

commented that he had “unusually large pecs for a hurdler.”

            248.    Strauss assaulted John Antognoli, a former OSU volleyball player, at least three

  different times in the 1990s on campus during medical “treatments” and once at Strauss’s home,

  where he invited John under the pretext of viewing athlete photographs Strauss had taken of John.

  After Strauss showed John the photos, he then proceeded to assault him.

            249.    Following this assault, John made the realization that he could no longer face

  Strauss and the sexual abuse that came with being an OSU athlete. John quit the volleyball team at

  the beginning of his sophomore year and never shared with anyone why he quit the team.

            250.    As a freshman in 1990, and a member of the Buckeye wrestling team, Plaintiff Dan

  Ritchie was forced to endure physicals by Strauss. Strauss assaulted and groped Dan during the

  very first physical and the abuse escalated thereafter.

            251.    In the fall of 1991, Dan injured his shoulder while home over Thanksgiving break.

  When he returned to school following the holiday, OSU head wrestling coach Russ Hellickson

  instructed Dan to seek medical attention from Dr. Strauss. Dan initially refused to see Strauss for

  fear of being assaulted.



  22
       Id. at 91.

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        252.    At the urging and instruction of Coach Hellickson, Dan finally visited Strauss for

treatment of his shoulder. Strauss began the examination by making Dan remove his shirt and then

insisted on “examining” Dan’s testicles and penis and placed his face near Dan’s groin. Dan realized

that Strauss was attempting to get him aroused by pulling on his penis and Dan immediately left the

room.

        253.    Dan walked away from the team and sport that he loved; he quit wrestling, lost his

athletic scholarship, and temporarily dropped out of OSU. Dan never shared why he left the

wrestling team with his friends or family and endured a strained relationship with his father because

of his decision to leave the team.

        254.    Dan finally recognized the abuse and the effects of the abuse after the news broke

about Strauss in 2018.

        255.    In 1993, one wrestler recalls being at one of his earliest practices with the team,

where he was told that a physical would be required and was directed to Dr. Strauss. He was

warned by upperclassmen who joked, “watch out – he’s going to play with you.” At the physical,

Dr. Strauss engaged in fondling and close inspection of his genitals for an extended amount of

time.

        256.    In 1993, another former OSU wrestler complained about Dr. Strauss to former

head wrestling coach Russ Hellickson after being groped during three exams. The wrestler said

that Coach Hellickson told Dr. Strauss to stop such behavior.

        257.    Coach Hellickson told Dr. Strauss that some of the athletes were “uncomfortable”

with him showering with them, to which the doctor responded that Hellickson also showered with

the athletes. Hellickson responded: “Not for an hour, Doc.”

        258.    Coach Hellickson also complained to Dr. Strauss about touching his athletes: “I




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said ‘When you’re doing weigh-ins, you’re too hands on, Doc,’” Hellickson said.

           259.   As a baseball player in the early 1990s, John Doe 44 was assaulted by Strauss on

at least four (4) occasions.

           260.   All four of John Doe 44’s encounters unfortunately were the same horrific

experience and he feels tremendous guilt and angst that he couldn’t stop Strauss during the first

assault.

           261.   John Doe 44 believes that first physical by Strauss set him down a different path

and altered his life dramatically.

           262.   He was just a “trusting 18-year-old kid” when he first encountered Strauss, but he

still burns with guilt and anger at OSU for subjecting him to the abuse.

           263.   John Doe 44 remembers that Strauss also required him to be completely naked so

that he could check his skeletal muscle structure, which meant nothing to Jon Doe 44 at the time.

           264.   Strauss always told John Doe 44 that he was built very well and looked like he

worked out. Strauss performed normal heart and lung checks but forced John Doe 44 to remain

completely naked during the exams.

           265.   Strauss would check for a hernia on both sides of John Doe 44’s testicles, but

always unnecessarily had one hand on John Doe 44’s penis while checking with his other hand.

           266.   Strauss would then force John Doe 44 to turn around and bend over a table and

while Strauss remained seated in his chair behind John Doe 44, as he caressed and massaged

between John Doe 44’s legs and rear end.

           267.   At the end of these gruesome “exams,” Strauss would tell John Doe 44 that he had

check for scoliosis and would continue down John Doe 44’s spine until his hands passed across

John Doe 44’s buttocks until he was fondling John Doe 44’s anus.




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          268.    All the experiences for John Doe 44 were the same; his last time seeing Strauss

was when he had been injured and needed Strauss to prescribe meds.

          269.    John Doe 44 summed up the experience of so many Strauss victims, “I endured it

just to get some relief for my pain.”

          270.    John Doe 44 remains a loyal Buckeye and still donates money to the University

that he loves. But he endures significant emotional pain and suffering because of how OSU

betrayed him.

          271.    During his first year on the OSU’s men swim team in 1994, Plaintiff Joel Davis

also first encountered Strauss.

          272.    He remembers that Strauss was the team doctor and performed all of their

preseason physical exams, which Joel deemed “unconventional in nature.”

          273.    It wasn’t until a later exam that Strauss escalated his abuse of Joel by fondling and

stroking his penis during the physical.

          274.    Joel believes everyone on the swim team underwent similar experiences at the

hands of Strauss.

          275.    During the time period that Joel and John Doe 44 were being abused, in November

1994, Medical Director/Head Team Physician Dr. John Lombardo wrote to Associate Athletic

Director Paul Krebs, addressing concerns raised by head fencing coach Remenyik about Strauss.

          276.    Coach Remenyik had complained that Strauss was performing improper or

unnecessary genital exams on the male fencers. Lombardo reported that the complaints (which he

referred to as “pervasive”) were unfounded but that the male athletes were not comfortable with

Strauss as their physician so Dr. Trent Sickles would be taking over as the fencing doctor.23



23
     Id. at 94.

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          277.    OSU did not inform Dr. Sickles why he replaced Strauss as the fencing team

doctor; OSU deliberately kept him in the dark

          278.    Dr. Sickles testified that his supervisors, Dr. Murphy, followed by Dr. Lombardo,

both failed to inform him of any complaints against Strauss or that Strauss made athletes

uncomfortable by showering with them.24

          279.    Despite having received six reports by students (at a minimum) about sexual

impropriety exhibited by Dr. Strauss at the time he removed him as the fencing team physician,

Lombardo withheld this information from Dr. Sickles.25

          280.    Lombardo never followed up with Sickles to see if the fencers were ok with his

treatment26, never inquired with any other athletes to determine if Strauss was performing the same

prolonged, overtly sexual exams on them or showering with them.27

          281.    Needless to say, Lombardo never reported Strauss to police, a prosecutor, any type

of authority or the Ohio State Medical Board28 and Strauss continued to treat all the other athletes

on teams to whom he was still assigned as their physician.

          282.    Also in the fall of 1994, two wrestlers met with then-Athletic Director Andy

Geiger (“AD Geiger”) in his office. The wrestlers complained about the voyeuristic and lewd

conduct of the men in the lockers and saunas of Larkins Hall, the former student and faculty

recreation center on the Ohio State campus that housed the wrestling, gymnastics, and swimming

teams.



24
     Sickles Dep. 104: 6-25, 105: 1-25, 106: 9-14. Nov. 21, 2020.
25
     Sickles Dep. 106: 2-10. Nov. 21, 2020.
26
     Sickles Dep. 61: 9-23. Nov. 21, 2020.
27
     Lombardo Dep. 194: 20-22, 17: 7-10. Nov. 12, 2019.
28
     Lombardo Dep. 113: 2-13. Nov. 12, 2019.

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           283.     A former OSU wrestling coach described Larkins Hall as “a cesspool of

deviancy,” saying “Coaching my athletes in Larkins Hall was one of the most difficult things I

ever did.”29

           284.     Also in the early 1990s, John Doe 86 was an OSU student who assisted with one

of the OSU athletic teams that was housed in Larkins Hall, which is where he encountered Strauss.

           285.     Today, he remembers Strauss as being “well known” amongst everyone who

frequented Larkins.

           286.     John Doe 86 recalls that in order to get a “doctor’s note” indicating you were sick,

you had to be subjected to Strauss’s abuse, which included a complete testicular exam, an

examination of your whole body top to bottom, fondling of your testicles and penis and asking

crude, invasive questions about your sex life.

           287.     Student athletes were regularly harassed in Larkins Hall by sexually aggressive

men who attended the university or worked there:

                   The voyeurs would masturbate while watching the wrestlers shower or sit
           in the sauna, or engage in sexual acts in the areas where the athletes trained, the
           former wrestlers said.
                   …
                   The situation was so egregious that former wrestling head coach Russ
           Hellickson would at times have to physically drag the gawkers out of the building,
           several sources familiar with his actions at the time said. Hellickson pleaded with
           the university multiple times to move their athletes to a private facility, the sources
           said….30

           288.     The wrestlers pleaded with the University administration to make changes to

Larkins Hall to protect student athletes and specifically complained of Dr. Strauss’s conduct. They



29
   Rachael Bade and John Bresnahan, ‘A cesspool of deviancy’: New claims of voyeurism test
Jordan denials, POLITICO, (July 6, 2018), https://www.politico.com/story/2018/07/06/jim-
jordan-harassment-ohio-state-wrestling-699192. (last visited July 16, 2018).
30
     Id.

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presented AD Geiger with drawings of changes to the wrestling and gymnastics locker room that

they believed would enhance safety and privacy for student athletes.

       289.      AD Geiger promised to look into doing something about the situation.

       290.      But Ohio State did nothing.

       291.      It did not move the athletes to a private facility, as Coach Hellickson requested.

       292.      And it did not make the changes the wrestlers suggested.

       293.      Only one thing changed: the locker room carpet was cleaned.

       294.      Plaintiff Adam Plouse attended OSU from 1995 to 1999. He wrestled for the first

three years of his college career.

       295.      Beginning his freshman year, he was warned by upperclassmen about Dr. Strauss,

and tried to keep his distance.

       296.      Nevertheless, when Adam was a freshman, he was directed to Dr. Strauss for a

physical where he endured an extensive and inappropriate hernia check.

       297.      During the hernia check, Strauss grotesquely touched Adam’s genitals and

required Adam to fully bend over and touch his toes for Strauss’s demented sexual gratification.

       298.      On many occasions in Larkins Hall, Dr. Strauss watched Adam shower in a way

that made Adam uncomfortable.

       299.      Adam recalls that Strauss watched him shower so many times that he eventually

stopped showering at Larkins and would leave practice sweaty to go home and shower just to avoid

Strauss’s disturbing presence.

       300.      The Perkins Report confirms that, in January 1995, “Coach A” acknowledged that

he personally confronted Strauss about Strauss showering with students and told him he was too




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hands on. “Coach A” thought he adequately addressed these issues with Strauss.31

           301.    Also in January 1995, two student-patients (Students A and B) from the Student

Health Men’s Clinic separately reported complaints about Strauss to Student Health

administrators.32

           302.    In January 1996, after Student C in the Perkins Report reported being molested by

Strauss to Dr. Ted Grace, Strauss was quietly placed on administrative leave from Student Health

and Athletics.33

           303.    Student C encountered Dr. Strauss in the student health men’s clinic in January of

1996 when he sought routine medical treatment for an ailment.

           304.    Immediately after Strauss molested him, Student C ran out of the exam room and

into the waiting room and went berserk in the presence of staff and students. He began to scream

and yell and create a scene, demanding his medical records and drawing attention to the

inappropriate examination he’d just had.

           305.    Dr. Ted Grace was immediately alerted about this incident, the third student

complaint about Strauss in just one year.

           306.    Shortly thereafter, Student C began to receive certified letters from Strauss’s

attorney, threatening him with legal action if he didn’t retract his statements about the assault and

alleging that he had “misinterpreted” what had occurred in the exam room. Strauss subsequently

suggested that Student C had in fact assaulted him, not the other way around.

           307.    Prior to the reports by Students A, B and C in 1995-1996, Dr. Grace was never




31
     Perkins Coie Report of the Independent Investigation, p. 91.
32
     Id. at 114.
33
     Id.

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alerted by Dr. Lombardo, Paul Krebs or anyone in the OSU athletics department about the

numerous reports about Strauss they had received, or the pleas by Coach Remenyik in 1994 that

Strauss be removed as the fencing physician.34

          308.    Prior to coming to OSU, Dr. Grace admitted to hearing rumors and being warned

by his previous boss at San Diego State about a “touchy feely doctor” at OSU35. And yet despite

these years-long warnings and three separate student complaints of blatant sexual abuse by Strauss,

Grace still failed to alert others about the danger Strauss posed to his patients.

          309.    Shockingly, under oath, Grace stated that he did not regret failing to report

Strauss to law enforcement.36

          310.    This absolute failure on the part of Dr. Ted Grace allowed Strauss to elude

criminal investigation and prosecution, yet again, paving the way for him to continue to treat

unsuspecting students at a new location.

          311.    Although OSU relieved Strauss from his position at OSU’s “Men’s Clinic,” it

allowed Strauss to open and advertise to students and provide discounted sexual health services to

students at his off-campus medical “Men’s Clinic” for two more years, where countless additional

students, including Plaintiff Brian Garrett, fell victim to his abuse.

          312.    In the weeks following Student C’s report, on April 2, 1996, Strauss applied to

reserve the corporate name for “Men’s Clinics of America” with the Ohio Secretary of State.

          313.    Over the spring and summer of 1996, Strauss scoured OSU’s campus to recruit

students to come work at the Men’s Clinic, using his clout as a tenured-professor to lure male



34
     Grace Dep, 87:1-25, 88: 1-25, 89: 1-25, 90: 15-18. Nov. 20, 2019
35
     Grace Dep, 120: 12-16. Nov. 20, 2019
36
  Grace Dep, 326: 8-10 Nov. 20, 2019 (Q: “Do you wish that you had reported Dr. Strauss to
law enforcement?” A. “No.”) (emphasis added)

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nursing students into believing this was a legitimate professional opportunity.

       314.     Strauss conducted on-campus interviews in University buildings, where he

boasted about his renowned career with OSU and used his status as a tenured professor to garner

trust from potential job applicants.

       315.     OSU stamped its approval on Strauss and the Men’s Clinic by allowing the on-

campus recruiting and hiring.

       316.     Unbeknownst to the male nursing students Strauss was interviewing—or to any

OSU students—OSU’s Vice President of Student Affairs, in conjunction with OSU’s general

counsel, convened a disciplinary hearing against Strauss in June 1996.

       317.     In July 1996, the OSU Athletics Department terminated Strauss’s employment

agreement.

       318.     On August 5, 1996, Strauss was informed that his appointment with OSU Student

Health Services was also terminated.

       319.     Also in August 1996, the State Medical Board of Ohio began its own investigation

of sexual improprieties raised against Strauss.

       320.     At no point in time during OSU’s investigation or subsequent findings of credible

reports of sexual assault of students did OSU ever report Strauss to law enforcement, ban him from

campus, or prevent him from interacting with students.

       321.     Nevertheless, in August 1996, Dr. Strauss set up shop in a nondescript, three-story

office building less than two miles from campus. There, he opened “Men’s Clinics of America,” a

men’s health clinic that offered “Prompt Treatment of Common Genital/Urinary Problems.”

       322.     By September 1996, within a few weeks of Strauss’s removal as an OSU

physician, his Men’s Clinic was up and running, targeted to vulnerable male OSU students, who




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were suffering from sexually transmitted diseases or urological issues, offering them low-cost or

free health care.

           323.     At the clinic, OSU athletes were given priority and seen on a walk-in

(unscheduled) basis. For OSU athletes, there were no intake charts completed per Dr. Strauss’s

request, and while Dr. Strauss saw other patients with the office staff, he saw OSU athletes alone.

           324.     Despite the name, Men’s Clinics of America was only one clinic, and it had only

one doctor—Richard Strauss.

           325.     Not only did OSU know Strauss was running the clinic in such close proximity of

campus and treating unsuspecting students, but the University gave him its blessing to open the

facility.

           326.     At least a month before Men’s Clinics of America was up and running, “in mid-

July 1996, Strauss received assurances from the Associate Vice President of Health Sciences and

Academic Affairs that there would be no issue with Strauss engaging in part-time private medical

practice while retaining his tenured faculty position at the University. The Associate Vice

President was aware, at the time he provided these assurances to Strauss, that Strauss was being

investigated by Student Affairs following a complaint brought against Strauss by a student-

patient.”37

           327.     Using his name and status as a University-sanctioned tenured professor, Strauss

targeted students through his ads in the OSU paper, The Lantern.

           328.     Students who sought treatment at Men’s Clinics of America likely were not even

aware that it wasn’t the same OSU sponsored Men’s Clinic where they had previously gotten

treatment from Strauss.



37
     Id. at 5.

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       329.     OSU made no effort to warn students about the dangers of being treated by Strauss

or to prevent Strauss from seeking patients who were OSU students.

       330.     Instead, OSU allowed Dr. Strauss to solicit its male students for sexual health

treatment in its student newspaper.

       331.     In fact, in November 1996, OSU’s Student Health Director learned that Strauss

was operating Men’s Clinics of America right near campus, and reported this to the Ohio Medical

Board, yet the ads continued to run in the Lantern for at least another 4 months.




       332.

An advertisement that ran in The Lantern on multiple occasions during the Fall 1996 semester.

       333.     OSU would have discovered all of this had it vetted the ad in its campus paper

from unnamed “experienced doctors” offering discounted sexual health services to its students.

But OSU didn’t do that.

       334.     OSU was oblivious or willfully blind to these red flags—a doctor removed from

his position in light of complaints of sexual abuse against him, opening his own clinic to treat

“common genital/urinary problems.”

       335.     Unsuspecting male students had no way of knowing that this clinic was not under

OSU’s supervision and Strauss operated under the auspice that he was still a University physician,

simply functioning in a new location.



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       336.     OSU took no steps to protect its students or members of the community, naïve to

Strauss’s employment status with the University, and naïve to Strauss’s dangerous propensities.

OSU left them vulnerable for sexual abuse because of its failure to publicly admonish or

disassociate with Strauss, despite the multiple, credible reports of sexual abuse of patients.

       337.     Plaintiffs and the putative class could not have been expected to know that Dr.

Strauss’s conduct was not medically necessary and that it was, in fact, sexual assault.

       338.     Even if Plaintiffs and the putative class had known that Dr. Strauss’s conduct

constituted sexual assault, Plaintiffs and the putative class were not informed or made aware of

any formal OSU grievance procedure to complain about Dr. Strauss.

       339.     Even if Plaintiffs and the putative class had known that Dr. Strauss’s conduct

constituted sexual assault, none of them had reason to know the role that OSU had played in

facilitating the abuse: that OSU had received but ignored or rebuffed or concealed complaints

against Strauss, which prevented each Plaintiff from discovering his claims against OSU.

       340.     Due to OSU ignoring and rebuffing and concealing complaints, any investigation

by Plaintiffs and the putative class would have been futile.

       341.     Until reading the Perkins Coie Report in 2019, Plaintiffs and the putative class

did not realize the magnitude or scope of Dr. Strauss’s abuse of OSU students, or OSU’s role in

permitting Dr. Strauss’s rampant sexual misconduct.

       342.     If OSU had taken meaningful action to address prior reports of Dr. Strauss’s

sexual abuse, Plaintiffs and the putative class would not have been abused by Dr. Strauss.

       343.     Had OSU taken meaningful remedial action once learning of Dr. Strauss’s abuse,

Plaintiffs’ and the putative class’s damages may have been mitigated.

   344.         Plaintiffs and the putative class still suffer from the pervasive and systematic




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deprivation of their rights by OSU, which still has not acted to resolve or remediate its institution-

wide failures related to Dr. Strauss.

           345.     Indeed, OSU took no legal or disciplinary action against Dr. Strauss as a result of

  the summer 1996 hearing. Although Strauss was relieved of his responsibilities as a physician at

  Student Health Services, his status as a tenured faculty member in the University's School of Public

  Health remained unchanged.

           346.     Further, the School of Public Health never initiated or otherwise pursued its own

  investigation of Strauss.

           347.     Dr. Strauss quietly retired from his positions at OSU in March of 1998.

           348.     In a memo announcing his retirement in 1998, OSU officials proclaimed, “Dr.

  Strauss has become a national and international renowned expert in the field of sports medicine

  through his outstanding teaching, service and research.”

           349.     Upon his retirement, OSU gilded Strauss’s reputation with the title of Emeritus

  Professor.

           350.     Dr. William Malarkey, who co-authored research studies with Strauss, testified

  about the honor of receiving emeritus status, that it was not given to all, and that it carried certain

  privileges with the university, such as use of the OSU’s library, access to OSU football season

  tickets, and the privilege of parking on campus.38

           351.     All of these rights that accompanied the honor of being a professor emeritus gave

  Strauss clout and authority to OSU students. Unsuspecting students who hadn’t interacted or yet

  been assaulted by Strauss would have no reason to be alarmed by his “retirement”, as confirmed




  38
       Malarkey Dep. 75:1-8, 76:11-25. Nov. 22, 2019.

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  by Dr. Malarkey.39

           352.     OSU’s actions stand in stark contrast to the knowledge OSU harbored, that Strauss

  had long been abusing male students.

           353.     Then OSU Dean of College of Medicine and Public Health, Dr. Bernadine Healy,

  protested Strauss’s emeritus appointment. When a department-wide memo was released

  announcing Strauss’s “retirement” and emeritus appointment, Dean Healy denounced this decision

  writing that she had not approved this emeritus appointment and that she had not been told about

  the recommendation.

           354.     OSU made the recommendation despite its knowledge that Strauss had

  perpetuated sexual abuse on thousands of innocent students.

        355.        OSU’s role in facilitating and covering up Strauss’s abuse remained concealed

for all these years, and its deliberate indifference has remained the status quo.

        D. OSU’s Continuing Culture of Indifference

           356.     Unfortunately, OSU has fostered a culture of institutional indifference to the rights

  and safety of its students: Dr. Strauss is not the only OSU employee who has used his position to

  abuse students, although he may be the most prolific abuser.

           357.     This continuing culture of indifference has been noted by the U.S. Department of

  Education’s Office of Civil Rights, in multiple lawsuits against the University, and in the media.

           358.     In June of 2010, the United States Department of Education’s Office of Civil

  Rights (“OCR”) began an investigation into OSU regarding its policies and procedures enacted to

  protect and respond to victims of sexual assault and abuse on campus.

           359.     Only after the investigation began and OCR issued a 2011 Dear Colleague letter



  39
       Malarkey Dep. 83: 11-21. Nov. 22, 2019.

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on sexual violence did OSU scramble to revise its sexual abuse policies and procedures.40

           360.   To close the review, OSU entered into a resolution agreement with OCR.41

           361.   After OCR initiated its investigation, OSU internally investigated a sexual

harassment complaint against its marching band, which resulted in the dismissal of its director,

Jonathan Waters, for fostering a “culture of intimidation.” The investigation found that OSU had

notice of the hostile environment but had failed to do anything about it.

           362.   Upon completion of the overarching OCR investigation, which spanned more than

four years, OCR made findings that OSU violated Title IX.

           363.   OCR mandated inter alia that “Once a [Title IX] recipient knows or reasonably

should know of possible sexual harassment, it must take immediate and appropriate action to

investigate or otherwise determine what occurred.”42

           364.   In July of 2014, OSU President Michael Drake pledged “Nothing is more

important than the safety of our students. We expect every member of our community to live up

to a common standard of decency and mutual respect and to adhere to university policies.”43

           365.   Coincidentally, just days later, in August of 2014, during a diving meet, Ohio State

received a report that OSU assistant diving coach Will Bohonyi was sexually abusing a minor



40
   See Letter from Meena Morey Chandra, Regional Director, Reg. XV, Office for Civil Rights,
U.S. Dep’t Educ., to Dr. Michael V. Drake, President, Ohio State University, 2 (Sept. 11, 2014)
(describing results of OSU’s investigation of alleged sexual harassment within Marching Band),
https://www2.ed.gov/documents/press-releases/ohio-state-letter.pdf (last visited August 14, 2018)
(hereinafter “OCR Findings Letter”).
41
   Resolution Agreement, Ohio State University, OCR Docket #15-10-6002, accessible at
https://www2.ed.gov/documents/press-releases/ohio-state-agreement.pdf (last visited July 24,
2018).
42
   Letter from Meena Morey Chandra, Regional Director, OCR, to Dr. Michael Drake, President
of OSU (September 11, 2014)
43
     Id.

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member of OSU’s Diving Club. Inexplicably, OSU allegedly sent the victim—not the

perpetrator—home from the meet.

           366.    OSU then failed to take action to address the hundreds of naked photographs of

the underage victim engaged in sexual acts that Coach Bohonyi had forced her to take. These

photographs—child pornography—have sat in OSU’s possession for some four years.

           367.    Despite its pledge and resolution agreement in response to the 2010-2014 OCR

investigation, OSU continued to foster a culture of indifference and has demonstrably failed to

show it was working to protect survivors of sexual violence.

           368.    OSU has continued to respond inappropriately and unreasonably to reports of

sexual violence.

           369.    This pattern of failing to protect students and allowing sexual assault to perpetuate

and continue effectively remains today at OSU.

           370.    In May of 2018, the University announced it had conducted an independent review

of its Sexual Civility and Empowerment unit (“SCE”), an on-campus entity enacted to support

victims of sexual assault.44

           371.    The findings of this external review indicated that the SCE had failed to properly

document and report pertinent information regarding sexual assault complaints made by students.45

           372.    The Ohio Health Sexual Assault Response Network of Central Ohio made deeply

disturbing findings regarding the response by university employees at the SCE to victims of sexual




44
  Zach Varda and Michael Lee, Ohio State shuts down its Sexual Civility and Empowerment unit,
The Lantern, June 19, 2018, https://www.thelantern.com/2018/06/ohio-state-shutting-down-
sexual-civility-and-empowerment-unit/. (last visited August 29, 2018)
45
     Id.

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abuse.46

           373.   Among the findings made were that “Survivors were subjected to victim-blaming,

unethical and re-traumatizing treatment by SCE advocates. Some victims were told they were lying

or delusional, suffered from mental illness, had an active imagination, didn’t understand their own

experience or fabricated their story.”

           374.   In a statement by the University following the findings made regarding SCE, OSU

claimed it is working toward improvement: “Ohio State will do all that we can to be a national

leader in preventing and responding to sexual misconduct,” Ohio State University President

Michael Drake said in a statement. “Our campuses must be safe places for all members of our

community to learn, work and grow. We remain steadfastly and unwaveringly committed to this

goal.”47

           375.   But this statement is belied by OSU’s conduct: Forty years after Richard Strauss

began sexual assaulting students under the guise of practicing medicine, OSU has continued to fail

to enact or implement meaningful change or programs to protect victims.

           376.   And in August 2018, the Office for Civil Rights announced it would again be

launching an investigation into OSU’s compliance with Title IX, to inquire whether the University

responds promptly and equitably to complaints and reports of sexual misconduct by former

students.48




46
  Jennifer Smola, Ohio State closes sexual-assault center, fires 4 after complaints, The Columbus
Dispatch, June 19, 2018. http://www.dispatch.com/news/20180619/ohio-state-closes-sexual-
assault-center-fires-4-after-complaints (last visited September 23, 2018)
47
     Id.
48
  Dakin Andone, Ohio State University faces federal investigation into alleged sexual misconduct
by school doctor, August 17, 2018, https://www.cnn.com/2018/08/17/us/ohio-state-university-
federal-investigation/index.html (last visited October 25, 2018)

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       377.      The Ohio State University’s continued indifference and resulting inaction to

sexual abuse allegations against Strauss is wanton, willful and with reckless disregard and neglect

of Plaintiffs’ rights, safety and wellbeing.

       378.      OSU has displayed and continues to display deliberate indifference to the

suffering of its students. It perpetuated a sexually hostile environment and a culture of deliberate

indifference by ignoring widespread and repeated complaints of Dr. Strauss’s conduct. Its pre-

assault failures resulted in additional harm to Plaintiffs. Had OSU responded appropriately and

reasonably to complaints, assault could have been avoided. Instead, it concealed and rebuffed

reports, which prevented Plaintiffs from discovering their claims.

       379.      OSU encouraged an attitude of deliberate indifference—sweeping away

allegations of abuse, at best, and outright ignoring these allegations at worst—all in the name of

protecting the University’s supposed integrity and coaxing more and more student-athletes to help

OSU win championships despite the cruel personal toll.

       380.      OSU’s inaction and pattern of deliberate indifference has been exhibited by the

University at least since 1978, the year that Strauss was hired and first abused a student.

       381.      This pattern of deliberate indifference persisted through Dr. Strauss’s long career

at OSU, despite notice to appropriate people, including multiple head coaches, the future Director

of Athletic Training, Director of Student Health, and an Athletic Director, who could have and

should have taken action.

       382.      This pattern of deliberate indifference continued beyond Dr. Strauss’s retirement,

as evidenced by numerous, persistent reports and allegations of sexual abuse and misconduct

across campus that were not properly addressed by the University and permitted the creation of a

campus condition rife with sexual assault.




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           383.   Any policies or procedures in place at OSU during Dr. Strauss’s tenure were

clearly ineffective and inadequate and essentially served no purpose in protecting students.

           384.   Ohio State’s delay and deliberate indifference has created a hostile environment

for its male students, particularly its male athletes.

           385.   OSU’s actions and inactions had the systematic effect of depriving Plaintiffs

herein and countless other students of the educational benefits afforded to them through their

enrollment in the University.

    III.      The OSU of Today Disparages the OSU that enabled Strauss and Proclaims Its
              Naiveté to his Assault on the Student Body During his 20-year Tenure.

    A. 2018: Public Outcry Compels OSU to Retain Perkins Coie to Investigate Itself

           386.   In April 2018, twenty years after Dr. Strauss’s retirement, and forty years after the

first allegation of abuse, former student-athletes publicly accused OSU of covering-up for Strauss.

           387.   To placate the public outcry, OSU hired an independent law firm, Perkins Coie,

to investigate who at OSU knew what, and when, about sex abuse by Dr. Strauss against student

athletes dating back to the late 1970s.

           388.   OSU only began the investigation in an effort to protect its brand, after multiple

former students came forward with their stories of abuse by Dr. Strauss, and these stories were

publicized in the media.

           389.   OSU expressed sympathy for the survivors but did not accept responsibility.

           390.   Although many of Dr. Strauss’s victims, including Plaintiffs in this case, felt that

his exams were medically inappropriate and deeply uncomfortable, many of them did not realize

these exams constituted illegal sexual abuse and harassment until after OSU publicized its

investigation in 2018.

           391.   Nor did these victims realize the magnitude or scope of Dr. Strauss’s abuse of



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OSU students or OSU’s role in permitting Dr. Strauss’s rampant sexual misconduct.

       392.     And many of Strauss’s victims, including the Plaintiffs in this case, were

revictimized by the opening of the Perkins Coie investigation in April 2018, having

compartmentalized and repressed their memories of abuse for many years.

       393.     They have been further revictimized in recounting the horrific details of their

abuse to the “independent” investigators OSU paid to finally look into Dr. Strauss’s legacy.

       394.     The Perkins Coie investigators are no more than a team of lawyers, paid by OSU

to canvas victims and frame the extent of OSU’s potential liability.

       395.     No detailed written statements were taken, and the victims were not provided their

written statements for feedback, correction, or follow-up.

       396.     The “investigation” was not professionally done: victims were not given the

choice of male or female interviewers for this sensitive information. The lead investigators were

white collar defense investigators, and there is no indication that they were trained in trauma-

informed interviewing or counseling.

       397.     The female interviewers who talked with Plaintiffs and others are not specially

trained or certified for interviewing sex abuse victims; for example, one is an e-

discovery/document review attorney at Perkins Coie.

       398.     The “investigation” did not to change the culture at OSU: The victims who

reached out to speak with Perkins Coie are not asked about how the OSU system could or should

be fixed to prevent what happened for decades.

       399.     OSU knows who the team members of the various sports were from 1978-2004,

and who the male patients in its Clinic were from 1978-2004, but has done nothing to identify

where they are now, and contact them—claiming instead it does not want to “re-traumatize” them




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by bringing up the past. This implies OSU knows it is likely that every male athlete was abused,

that the abuse itself was painful, that they have repressed it for decades, and that coping with it

will be painful even now.

        400.     OSU doesn’t want to be held accountable for employing a serial, sexual predator,

allowing him to abuse students for years, and then failing to take any remedial action to help these

students.

        401.     If OSU had taken meaningful action to address prior reports of Dr. Strauss’s

sexual abuse forty years ago, Plaintiffs would not have been abused by Dr. Strauss.

        402.     Since the allegations became public and OSU opened its investigation in early

2018, OSU has notice of Dr. Strauss’s abuse of its students, including Plaintiffs herein, and yet it

has taken no affirmative action to change or improve upon the culture of indifference or help the

victims.

        403.     Only recently could OSU no longer hide behind its self-made veil of secrecy. With

the jig finally up, OSU proclaimed its intent to help the victims heal despite its quiet efforts to kill

Plaintiffs’ claims along with their spirits.

        404.     It is time to hold OSU accountable.

        405.     Through this lawsuit, Plaintiffs demand that OSU acknowledge its failures,

account for and compensate Plaintiffs for the damages these failures have caused, and institute real

and meaningful change to ensure that no future OSU students endure such abuse and harassment.

        406.     After the filing of the First Amended Complaint in this action (Doc. 33), as the

Perkins Coie investigation dragged on, plaintiffs who had filed suit asked to speak directly with

the OSU Board of Trustees to engage in a discussion about what might be done.

        407.     The Board granted the request, but literally that same day, its attorneys filed a




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motion to dismiss the survivors’ claims.49

         408.     At the meeting of the OSU Board of Trustees, then-chairman of the OSU Board,

Mr. Gasser (who subsequently resigned) “told the victims that appeared before the board that,

[‘]rest assured, the board is not dismissing you. We’re committed to doing the right thing.”50

         409.     However,       despite     Mr.      Gasser’s      assurances      to     victims,

OSU sat on its hands, with its motion to dismiss pending, and awaited the findings of Perkins Coie,

which wouldn’t come for another six (6) months.

         410.     The Perkins Report was finally released in May of 2019.

         411.     On May 24, 2019, Chairman Gasser resigned from the Board.

      B. 2019: Perkins Coie Report Released -- Plaintiffs Discover OSU’s Deliberate Indifference
         to the Sexual Assaults by OSU’s Predator Physician

         412.     On May 17, 2019, after more than a year of investigation, the long-awaited Perkins

Coie report was finally delivered.

         413.     The Report does not whitewash OSU’s culpability but is instead an indictment of

OSU’s repeated failures to escalate/report complaints of sexual abuse or to otherwise take action

despite knowledge reaching the upper levels of the University’s administration. OSU has not

contested, but embraced, its findings—accepting its responsibility for the first time, apologizing

to the survivors and the public. Now it must step up and own how it failed these survivors.

         414.     The findings made in the Perkins Coie Report confirm the allegations made by

Plaintiffs and provide additional insight into the severity of the abuse and the far-reaching




49
     Doc. 38.
50
 Transcript of Hrg Jan. 17, 2019, (Doc. 52, at 4: 4-6, 24) (Judge Watson recounting what he heard
Mr. Gasser say).

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implications of OSU’s empowerment of Strauss.51

          415.       Survivors outlined Strauss’s modus operandi to Perkins investigators and the

Report detailed the stark similarities in these stories, described as “both highly credible and cross-

corroborative.”52

          416.       Of the 177 survivors interviewed by investigators, 153 were associated with

Strauss through his role in the OSU athletics department.53 In his role as team doctor to several

sports, the report confirmed that Strauss was given unfettered access to student-athletes.54

          417.       A large portion of the Report described the trauma-informed approach employed

to interview and fact-find and discusses difficulty in obtaining information from victims because

of their profound distrust of institutions like OSU based on the abuse they suffered, “Many, if not




51
   The Report outlines abuse by Strauss of students and student-athletes alike. It focuses on the
abuse that occurred on the OSU campus, particularly in Larkins Hall and the student health center
and at Strauss’s off-campus “Men’s Clinics of America.” Though outside the purview of the
Report’s factfinders, it also details abuse by Strauss at medical/clinical trials, sports summer camp
for minor children, at churches, high school wrestling tournaments, and in other avenues which he
involved himself through his position at OSU—and used to abuse men and children, as young as
eleven years old. Strauss carried his perversion far and wide, and OSU cloaked him in legitimacy
by lending its name and authority to him.
52
   Funk, Markus and Caryn Trombino, Perkins Coie LLP. Report of the Independent Investigation,
Sexual Abuse Committed by Dr. Richard Strauss at The Ohio State University, May 15, 2019, p.
13. (“With rare exception, we found the survivor accounts concerning their experiences with
Strauss to be both highly credible and cross-corroborative. Regardless of whether survivors
attended OSU in the late 1970s or in the early 1990s, or whether they were student-athletes on the
football team or non-athlete students treated by Strauss in the Student Health Center, their
descriptions of Strauss’ conduct were remarkably similar. Despite this consistency, the details
contained in their individual accounts were unique and did not bear indicia of being “copycat” or
coordinated, scripted stories. Adding further credibility, and as explained in this Report, the
accounts of abuse were corroborated both by contemporaneous records we located in the
Independent Investigation, as well as statements from other Investigation witnesses, including
University employees and staff.”)
53
     Id. at 42.
54
     Id. at 34-35.

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most, of the men who contacted us did so with great hesitation.”55

           418.   Those who did cooperate described the quid pro quo sexual abuse, the price the

athletes had to pay to maintain their scholarships and place on the team. As early as Strauss’s first

year as team physician in 1979, the OSU Athletic Department and Sports Medicine program had

direct reports of Strauss’s lewd sexual conduct.56

           419.   His misbehavior was widely discussed within the athletics department, including

his proclivity to conduct inappropriately lengthy and unnecessary genital exams, showering with

the students, and his loitering in the student’s locker room.57

           420.   As concluded in the Report, these behaviors would continue for almost two more

decades.

           421.   By November 1994, when OSU’s Medical Director/Head Team Physician sent a

letter to Senior Associate Athletic Director, addressing “concerns” raised by the head coach for

fencing, regarding male fencers’ discomfort with Strauss, knowledge of sexual abuse by Strauss

was widespread and an “open secret” amongst OSU employees.58

           422.   However, the Perkins Coie Report outlines how it took another year and half, until

June 1996, after three different students reported being assaulted by Strauss in less than a year,

before OSU would even initiate action to limit his unfettered contact with students.

           423.   The report concludes that even after OSU officials determined that Strauss’s

conduct was sexually abusive in nature, they allowed him to quietly retire and bestowed him with




55
     Id. at 13.
56
     Id. at 2.
57
     Id. at 88.
58
     Id. at 92.

                                              Page 60
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emeritus status.59

          424.     The report details that OSU allowed him to lure male students to his “clinic” and

repeatedly advertised in the school paper, with the knowledge that he had abused a plethora of

male students, ultimately allowing him access to unsuspecting male students in the off-campus

location.60

          425.     In support of its investigation, Perkins Coie retained two independent doctors to

provide input on the medical necessity of all of Strauss’s reported “procedures” and examination

techniques; the expert physicians found that the reports made by survivors all described medically

inappropriate and unnecessary methods—concluding that Strauss’s action were all for his own

sexual gratification.61

          426.     Perkins Coie confirmed that treatments provided for students and student-athletes

served no medical purpose or justification, and only served to inflict extreme emotional and

psychological trauma on his male patients.62

          427.     Many survivors and loved ones of survivors have described an “awakening”

experience upon reading the Perkins Coie Report of the Independent Investigation.

          428.     For the first time, survivors realized that they had not only been betrayed by Dr.



59
     Id. at 154.
60
     Id. at 151.
61
   Id. at 12. (“In order to discern whether, and to what extent, Strauss’ physical examinations of
student-patients exceeded the boundaries of what was appropriate or medically necessary, it was
essential for the Investigative Team to consult with suitably qualified medical experts. To that end,
Perkins conducted a nationwide search for medical experts who met three essential criteria: (1) no
affiliation with The Ohio State University; (2) significant experience serving as team physicians
at the intercollegiate level; and (3) ability to speak to the prevailing medical practices applicable
during the relevant time period. Ultimately, we retained two eminently qualified external
physicians (“External Physicians”) with whom we consulted in preparing our factual findings…”)
62
     See generally Id. at 43-68. (emphasis added)

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Strauss, but that they were also betrayed by OSU.

         429.   Many Plaintiffs herein believed their own instances of abuse by Strauss to be

isolated, one-off events. They were too humiliated to disclose the abuse and those that did were

shot down, not believed, ignored, or threatened by Strauss. OSU’s hush-hush approach and long-

term inaction effectively concealed the facts of Strauss’s abuse and OSU’s role in facilitating that

abuse.

         430.   Even if Plaintiffs herein had known that Dr. Strauss’s conduct constituted sexual

assault, Plaintiffs were not aware of any formal OSU grievance procedure to complain about Dr.

Strauss.

         431.   Even if Plaintiffs had known that Dr. Strauss’s conduct constituted sexual assault

and/or had known to complain, or in fact did complain, Plaintiffs had no reason to know the role

that OSU had played in facilitating the abuse: OSU received but ignored or rebuffed or concealed

complaints against Strauss, which prevented Plaintiffs from discovering their claims against OSU.

         432.   Due to OSU ignoring and rebuffing and concealing complaints, any investigation

by Plaintiffs would have been futile.

         433.   It wasn’t until reading news coverage of the OSU investigation in 2018 or the

Perkins Coie Report in 2019 that Plaintiffs were certain that Dr. Strauss’s conduct was not

medically necessary and that it was, in fact, sexual assault.

         434.   It wasn’t until the Perkins Coie Report was released that Plaintiffs herein realized

the magnitude or scope of Dr. Strauss’s abuse of OSU students, or OSU’s role in permitting Dr.

Strauss’s rampant sexual misconduct.

         435.   It wasn’t until the Perkins Report was released that Plaintiffs realized that OSU

had knowledge of Strauss’s sexual abuse of male students for decades and chose to ignore it.




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       436.     It wasn’t until the Perkins Coie Report was released that Plaintiffs realized that

OSU had received repeated complaints about Strauss’s prolonged genital examinations and other

disturbing sexual proclivities but took no action against him.

       437.     It wasn’t until the Perkins Coie Report was released that Plaintiffs realized that

OSU athletic directors, coaches, trainers, administrators, physicians, executives and deans alike all

knew about reports made by students against Strauss and did nothing.

       438.     It wasn’t until the Perkins Coie Report was released that Plaintiffs realized that

they weren’t alone, and that many hundreds of other OSU male students between 1978-1998 had

been sexually assaulted, sodomized, penetrated, molested, groped, and emotionally scarred

because of OSU’s deliberate indifference.

       439.     It wasn’t until the news coverage of the OSU investigation in 2018 and/or the

Perkins Coie Report was released in 2019 and Plaintiffs discovered how OSU failed them that

many of them even decided to come forward, identifying themselves as victims for the first

time—to investigators, to attorneys, to spouses, to family members, and even to themselves.

       440.     As one survivor so aptly put it, “Strauss had a type. Naïve.” And OSU gave him

authority, access, and unfettered opportunity to sexually abuse and exploit as many of these young,

naïve students as possible.

       441.     The seventy-eight Plaintiffs herein reported being subjected to Strauss’s abuse in

the following nonexclusive ways:

         a.     Sodomy/anal intercourse

         b.     Oral Sex / Digital Penetration / Masturbation

         c.     Groping / Fondling / Genital Touching

         d.     Abuse without touching (Showering/Exposure/ Voyeurism/ Photography/ Sexual
                Proposition/Lewd Comments)



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          442.    100% of the Plaintiffs individually represented in this lawsuit report being

physically sexually molested by Strauss—a staggering statistic that OSU cannot ignore.

          443.     What the Perkins Coie Report did whitewash were gruesome and horrifying

  details of abuse of young men who were sodomized, drugged and preyed upon by Strauss during

  their most impressionable years, and in their most vulnerable moments – while seeking medical

  care.

          444.     The report goes into detail regarding molestation and clear sexual assault by

  Strauss, but conspicuously leaves out the stories that still haunt and torment these men today, thirty

  years later.

          445.     Some survivors recount being injected by Strauss by what they believed to be

  medicine and then waking up, disrobed, with no memory of what had happened to them. What

  Strauss did to these young men during these dark periods of unconsciousness is what will haunt

  them for the rest of their lives.

          446.     Another survivor was sexually abused by Strauss while he was conscious, but was

  physically incapacitated and unable to protest or otherwise stop Strauss from assaulting him.

          447.     Most horrifying yet, some survivors were anally penetrated by Strauss.

          448.     Being sodomized by a University-sanctioned professor and medical doctor is an

  unfathomable trauma and Perkins Coie confirmed how prevalent Strauss’s abuse of male students

  was on OSU’s campus during his two decades of employment.

          449.     Strauss’s abuse—which OSU allowed to continue unchecked throughout his long

  tenure—traumatized many victims for decades. Indeed, some victims continue to be afraid to see

  doctors to this day, causing them to neglect their health and to receive dangerous diagnoses late.

          450.     Although complaints of disturbing sexual assault by Dr. Strauss mounted over the



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years, OSU took no action. OSU did no further investigation of the above reports. OSU did not

impose conditions on his continued employment, such as a chaperoning policy. OSU did not

terminate Strauss. OSU did not pass on the above reports to the Ohio Medical Board. OSU did not

pass on the above reports to law enforcement.

       451.     The Perkins Coie Report ticks through the various OSU departments where

Strauss was employed: Student Health, Athletics Department, Medical Center etc. and who, in

each department, over the span of his tenure, had knowledge of reports of Strauss’s misconduct.

       452.     If any one of the dozens of OSU agents with knowledge had taken action,

investigated further, escalated the reports to OSU executives or reported to law enforcement,

Strauss’s reign could have been stopped. But these people, individually and collectively, did

nothing.

       453.     The Perkins Coie Report is significant in its account of how many people

admitted, in 2018-2019, that they knew about Strauss back then.

       454.     These numbers do not reflect the many other OSU agents with memory lapses,

memory blocks, death or disability, or for those who refused to cooperate with Perkins Coie for

fear of their own personal liability in allowing Strauss to carry on with his abusive treatment of

students.

       455.     At least two (2) OSU Athletic Directors received reports about Strauss.

       456.     At least two (2) OSU Head Team Physicians received reports about Strauss.

       457.     At least six (6) OSU Assistant Athletic Directors received reports about Strauss.

       458.     At least five (5) OSU Team Physicians received reports about Strauss.

       459.     At least twenty-two (22) OSU Coaches received reports about Strauss.

       460.     At least one (1) OSU Athletic Training Director received reports about Strauss.




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        461.     At least four (4) OSU Athletic Trainers received reports about Strauss.

        462.     At least eighteen (18) OSU Student Trainers received reports about Strauss.

        463.     At least four (4) OSU Student Health Officials received reports about Strauss.

        464.     At least three (3) OSU Student Health employees received reports about Strauss.

        465.     An unknown number of other OSU personnel, executives, lawyers, trustees and/or

other OSU officials were aware of complaints against Strauss, or at a minimum, had heard rumors

about his disturbing conduct while treating male students.

        466.     Any one of these individuals, each an agent of OSU, was an appropriate person

under the law.

        467.     Any one of these individuals was in a position to protect students.

        468.     But for two decades, while thousands of unsuspecting students were subjected to

rape, sodomy and pervasive sexual molestation, and harassment, OSU took no action to

investigate, to intervene, to share, to escalate, to publicize, to remove, to discipline, to report or to

otherwise protect students from him.

    C. Following the Release of the Perkins Coie Report, OSU Finally Acts – But Only to Protect
       Its Brand, Control Public Relations, and Silence Survivors

        469.     Instead of taking accountability for its role in perpetuating the sexual assaults of

innocent students, as Perkins Coie confirmed, OSU used the release of the report as an opportunity

to gain ground in the court of public opinion, using the media to portray the University as deeply

empathetic.

        470.     Following the release of these damaging findings, on May 16, 2019, President

Drake proclaimed: “It’s outrageous that the university fundamentally failed to prevent this abuse

decades ago… Ohio State will continue to marshal resources to support survivors and contribute

to the national effort of combating sexual misconduct and abuse.”



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       471.     But OSU has not “marshall[ed] resources to support survivors,” instead it has

asked this Court to dismiss them.

       472.     In June of 2019, the parties attended the Court-ordered mediation, which was

unsuccessful.

       473.     After mediation, on June 27, 2019, OSU again paid lip service to its commitment

to Plaintiffs. Chris Davey, Ohio State’s Associate VP of University Communications announced:

“Richard Strauss’ actions are reprehensible, and the university’s inaction at the time is

unacceptable. ... We are grateful to all those who have come forward to share what happened. We

remain deeply concerned for everyone affected by Strauss’ actions, and the university remains

firmly committed to the mediation process outlined by the federal court.”

       474.     Desperate to make a good public show, OSU made another typical pronouncement

that it was “grateful” for the victims coming forward, “deeply concerned” about them, and “firmly

committed to the mediation process”—but instead OSU continues to hang its hat on its statute of

limitations argument, seeking to extinguish Plaintiffs’ claims.

       475.     Davey’s quote came on the heels of testimony earlier that day, by five brave

Strauss survivors, all Plaintiffs herein, who recounted the gruesome and disturbing details of their

abuse to the Ohio House Civil Justice Committee. The troubling recollections by these men could

be felt by every soul in the statehouse that day and every person who watched from afar.

       476.     Even OSU could not deny that what was expressed by these victims was

profoundly upsetting… but yet OSU seeks to dismiss the victims in this Court as if they never

existed.

       477.     What is contained in the Perkins Coie report is just a smattering of the evidence

which imputes liability on OSU for the years of abuse by Strauss.




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       478.     For example, the report determined that Dr. Strauss abused at least one hundred

and seventy-seven (177) victims during his time at OSU.

       479.     In reality, this number is far greater, as evidenced by the filing of this lawsuit and

several others, on behalf of at least 300 victims. The numbers don’t lie. These men were repeatedly

sexually abused by Strauss at different times, in different manners.

       480.     The damage resulting from OSU’s failure to remove Strauss is overwhelming, and

the details of the abuse and OSU’s coverup of the abuse are still coming to light today and his

victims begin to understand OSU’s role in what they suffered silently for all these years.

       481.     On October 1, 2019, OSU released crime statistics for reports made on campus

and in properties adjacent to campus, pursuant to the Jeanne Clery Disclosure of Campus Security

Policy and Campus Crime Statistics Act (the “Clery Act Report”)—and the results were

staggering.

       482.     For the first time, OSU confirmed reports of 1,429 instances of fondling and 47

instances of rape attributable to Strauss.63

       483.     The numbers published in the 2019 Clery Act Report demonstrate that Perkins

Coie’s Report is limited and nonconclusive—and suggest that many more than 177 victims

suffered at the hands of Richard Strauss.

       484.     OSU used the release of these findings as an opportunity to give lip-service

support to survivors and their loved ones. President Drake e-mailed OSU alumni and former

student-athletes more meaningless proclamations: “Strauss’ actions and the university’s inaction

at the time were unacceptable. I want to reiterate our profound regret and sincere apologies to each




63
  University issues annual crime report, October 1, 2019, https://news.osu.edu/university-issues-
annual-crime-report/ (last visited October 10, 2019)

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person who endured Strauss’ abuse — and our gratitude for the strength and courage of all who

shared their experiences.”64

       485.       But these are merely words and not action: OSU’s gratitude for the strength and

courage of all who shared their experiences remains to be seen.

       486.       Indeed, consistent with its two-faced approach, OSU has remained loyal to its

commitment to dismissing Plaintiffs’ claims under Ohio’s current two-year statute of limitations.

       487.       These naïve men arrived on campus in Columbus, inspired by the next four years

ahead of them at a University they loved. Strauss took their innocence, and OSU betrayed them.

The conduct of the University and its doctor forever changed their lives.

       488.       Survivors are still paying for what Strauss did to them as OSU students—what

OSU authorized him to do.

       489.       Many of them suffered humiliation, depression, dropped out of school, received

failing grades or quit their sports team and relinquished their athletic scholarships—all to escape

Strauss and the university that allowed him to prey on them. In turn, they had their livelihoods

stolen as well.

       490.       For many of them, the entire trajectory of their life was altered.

       491.       Reading the Perkins Coie Report, which put each Plaintiff’s personal experience

of abuse in context with the many many who suffered, over many many years and with so much

awareness by many in university leadership, connected all the dots for these Plaintiffs and put in

sharp focus, for the first time, the role that OSU played: Not only were these men victims of




64
  The Ohio State University, Office of the President, A Message from President Drake: Strauss
Investigation Update, October 1, 2019, https://president.osu.edu/presidents/drake/news-and-
notes/2019/a-message-from-president-drake-strauss-investigation-update-oct-2019.html     (last
visited October 10, 2019)

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Strauss, they are victims of OSU’s failed policies and deliberate indifference.

     D. High-Ranking Ohioans Step Up to Call Out OSU’s Institutional Failures that Left Students
        Susceptible to Strauss

        492.       Following the public outcry as details emerged implicating OSU as Strauss’s

protector, as OSU continued to hide behind the Statute of Limitations defense, on May 16, 2019,

Ohio State Representative Brett Hillyer introduced House Bill 249 (“HB 249”), a bill which

proposed removing the statute of limitations for Strauss victims to pursue their civil claims against

OSU.

        493.       Support for HB 249 was swift and overwhelming.

        494.       Republicans and Democrats alike, across Ohio and across America, spoke out in

favor of the bill, which gives these victims their long-awaited day in court, to hold OSU

accountable for protecting and covering-up for Strauss all these years.

        495.       Numerous Strauss survivors and their families have heroically testified, sharing

their stories of abuse to the Ohio legislature and constituents. Following these public hearings, the

outpouring of love from the public has been immense.

        496.       As Ohioans back the proposed legislation, Ohio Governor Michael DeWine has

repeatedly expressed his unwavering support for abolishing the statute of limitations for sexual

abuse victims.65

        497.       Governor DeWine unequivocally stated: “We can use this tragedy as an

opportunity to review Ohio’s current laws and to take steps to change the culture of how we




65
   Jeremy Pelzer, Gov. Mike DeWine: End statute of limitations for rape in wake of Ohio State sex
abuse report, May 20, 2019. https://www.cleveland.com/open/2019/05/gov-mike-dewine-end-
statute-of-limitations-for-rape-in-wake-of-ohio-state-sex-abuse-report.html     (last     visited
November 4, 2019)

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respond to sexual abuse”.66

           498.   On May 20, 2019, Governor DeWine further showed support for Plaintiffs by

signing an executive order, appointing a task force to investigate the actions taken by the State

Medical Board, which heeded reports about Strauss in the 1990s and failed to take away his

medical license, as uncovered by Perkins Coie’s report.

           499.   The findings of the task force only confirmed that OSU had numerous credible

reports by Strauss’s patients for years.67

           500.   Support for HB 249 even came from OSU’s campus—on October 23, 2019, the

OSU Student Government’s General Assembly unanimously voted to pass a resolution calling on

OSU to support HB 249 and to “stand with OSU survivors past, present, and future”.68

           501.   One student Senator, Ose Arheghan, aptly expressed his feelings on why OSU

refuses to support HB 249, “Ohio State University has a huge financial interest in avoiding the

passage of this bill,” Arheghan said, adding that he felt that OSU and its legal counsel were

pressuring the Ohio legislature to stall the bill.69

           502.   Right on cue, OSU responded to the students’ passage of the resolution and

University spokesman Ben Johnson doled out one of OSU’s canned responses.

           503.   “For more than a year, Ohio State has led the effort to investigate and expose the

misdeeds of Richard Strauss and the systemic failures to respond, and the university is committed



66
     Id.
67
  See generally Governor’s Working Group on Reviewing the Medical Board’s Handling of the
Investigation Involving Richard Strauss, Ohio Department of Public Safety, August 30, 2019
68
   Sam Raudins and Owen Conn, USG Calls on University to Support Strauss Bill, The Lantern,
Oct. 23, 2019, https://www.thelantern.com/2019/10/usg-calls-on-university-to-support-strauss-
bill/. (last visited November 4, 2019)
69
     Id.

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to a fair resolution,” Johnson said. “The university is actively participating in good faith in the

mediation process directed by the federal court.”70

           504.   Five days later, on October 28, 2019, the parties attended their second mediation

session, which did not result in settlement.

           505.   On November 19, 2019, Ohio House Speaker Larry Householder said he’d like to

see OSU “do the right thing” for Strauss’s victims, and admonished OSU that there is no

“advantage to the university waiting” and the Ohio legislature “wish[es] Ohio State would step up

and take care of their obligation.”71

           506.   Two days later, on November 21, 2019, after again hearing from three Plaintiffs

named or formerly named herein, Brian Garrett, Dan Ritchie and Mike Schyck, the chairman of

the OSU Board of Trustees echoed OSU’s sentiments from the last year and a half, stating “I want

to reiterate that we are dedicated to a fair outcome.”72

           507.   This same day, OSU President Michael Drake, who oversaw the investigation into

what OSU knew about Strauss during the time he abused students, and who repeatedly proclaimed

his dedication to uncovering the truth and his dedication to seeing a fair outcome for the victims,

announced his retirement in 2020.73

      E. Today: The Undisputed Facts Reveal That OSU Institutionally Protected and Emboldened

70
     Id.
71
  House Speaker to Ohio State: Do the Right Thing For Victims of Team Doctor, Dayton Daily
News, Nov. 19, 2019, available at https://www.daytondailynews.com/news/crime--law/house-
speaker-ohio-state-the-right-thing-for-victims-team-doctor/P4aL2hBmsooYlGZAVLLjKL/(last
visited Nov. 21, 2019).
72
  Jennifer Smola, Strauss Victims Ask Ohio State to Not Let Them Down Again, The Columbus
Dispatch, November 21, 2019, available at https://www.dispatch.com/news/20191121/strauss-
victims-ask-ohio-state-to-not-let-them-down-again (last visited November 25, 2019)
73
  Sam Raudins and Jack Long, University President Michael V. Drake Announces Retirement,
The Lantern, November 21, 2019, available at https://www.thelantern.com/2019/11/university-
president-michael-v-drake-announces-retirement/ (last visited May 21, 2020)

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          Strauss, The Law Permits Recovery, Yet OSU Continues to Traumatize his Victims Through
          this Litigation

          508.     In 2018,74 Ohio State’s Strategic Plan vowed that:




  What Ohio State does matters. And how we do it matters….
  We owe it to our students, our faculty, our staff and to our community. We owe it to
  ourselves. And, because we are Ohio State, we owe it to the nation.



       509.        Plaintiffs filed this lawsuit in 2018 in the hope that Ohio State will make good

on that promise. Ohio State is right: now is the “time” for “change”.

       510.        To make a change, Ohio State must take responsibility for a dark chapter in its

storied history, a chapter during which its doctor and assistant professor, Dr. Richard Strauss,

sexually assaulted, battered, molested, and/or harassed thousands of its students.

       511.        The victims of Dr. Richard Strauss still wait for the day that OSU’s actions mirror

the words. They still await OSU taking accountability for employing and emboldening a serial sexual

abuser for nearly two decades and then subsequently covering up the University’s role in perpetuating

the abuse for another two decades.

       512.        Plaintiffs herein originally filed their claims on behalf of the Class on July 16,

2018. See Case No. 2:18-cv-00692-MHW-EPD (Garrett, et al. v. OSU, filed July 16, 2018) and

related Case No. 2:21-cv-2542-MHW-EPD (Alf, et al. v. OSU, filed May 14, 2021). In these cases,



  74
     The Ohio State University, Office of the President, https://president.osu.edu/strategicplan/
  (visited July 16, 2018 and October 1, 2019).

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along with many other related cases that were filed, the Court ordered the parties to mediate, permitted

limited discovery (6 depositions), and ultimately granted OSU’s motion to dismiss Plaintiffs’ Title IX

claims on statute of limitations grounds, which ruling was reversed and remanded by the U.S. Court

of Appeals for the Sixth Circuit, decisions as to which OSU’s petitions for writ of certiorari were

denied. See Garrett v. Ohio State Univ., 60 F.4th 359 (6th Cir.), cert. denied sub nom. The Ohio State

Univ. v. Gonzales, 143 S. Ct. 2659 (2023); see also Snyder-Hill v. Ohio State Univ., 48 F.4th 686 (6th

Cir. 2022), cert. denied sub nom. The Ohio State Univ. v. Steve Snyder-Hill, 143 S. Ct. 2659 (2023).

        513.        On remand, the district court directed that the five attorney groups leading multiple

similar cases consolidate the claims in their previously-filed cases and file a new complaint. See S.D.

Ohio Case No. 18-cv-692-MHW-EPD, Doc. 214 (attached as Exhibit 1 to this Complaint). Thus, this

class action, first filed July 16, 2018, continues to toll the running of statute of limitations on the claims

of all putative class members.75

        F. OSU Employees and Physicians who Refused to Participate in Perkins Coie’s
           Investigation Testify About the Extensive Institutional Cover-up for Strauss.

           514.     As this case has dragged on, Plaintiffs continue to grapple with how Strauss’s

   actions went unchecked for so long by OSU. When given the opportunity to depose six (6) former

   OSU doctors who worked side-by-side with Strauss, the same overarching theme revealed itself:

   that the culture at OSU was to protect Strauss and keep students – and Strauss’s colleagues – in

   the dark about his dangerous proclivities.




   75
      “The commencement of a class action suspends the applicable statute of limitations as to all
   asserted members of the class who would have been parties had the suit been permitted to continue
   as a class action.” Am. Pipe & Const. Co. v. Utah, 414 U.S. 538, 554 (1974). And “[t]he limitations
   period ‘remains tolled for all members of the putative class until class certification is denied.’ ”
   Potter v. Comm'r of Soc. Sec., 9 F.4th 369, 374 (6th Cir. 2021) (quoting Crown, Cork & Seal Co.
   v. Parker, 462 U.S. 345, 354 (1983)); see also Compound Prop. Mgmt. LLC v. Build Realty, Inc.,
   343 F.R.D. 378, 403 (S.D. Ohio 2023).

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          515.    Physician after physician testified that he was never informed by his predecessor,

supervisor, or colleagues in other departments about the onslaught of complaints lodged by

students about Strauss.

          516.    Once these doctors heard the concerns themselves, firsthand, they carried on in

the same fashion as those before them, they didn’t report Strauss up the chain, they didn’t

investigate students’ reports, they didn’t discuss Strauss’s sexually deviant behavior with other

students or staff, they didn’t report Strauss to the medical board or local authorities. They simply

perpetuated the culture of secrecy surrounding Richard Strauss’s repeated sexual assaults of

students.

          517.    Dr. John Lombardo, who served as OSU Sports Medicine Director for nearly

fifteen years, provided explosive testimony about how he pacified all indicators of Strauss’s

danger.

          518.    When first put on notice about Strauss showering with students in the early 1990s,

Lombardo did nothing but ask Strauss about it, and Strauss confirmed so Lombardo decided no

further investigation or discipline was necessary.76

          519.    Lombardo testified that he never had any discussions with any OSU medical staff

to inquire about Strauss,77 never informed athletic directors Andy Geiger or Jim Jones that Strauss

was perpetually showering with student-athletes,78 never inquired with a single student79 or athletic




76
     Lombardo Dep. 95:7-9, 96:1-6. Nov. 12, 2019.
77
     Lombardo Dep. 49:19-25. Nov. 12, 2019.
78
     Lombardo Dep. 96:14-25, 97:1-24. Nov. 12, 2019.
79
     Lombardo Dep. 48:1-3. Nov. 12, 2019.

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trainer80 about Strauss and never reported Strauss to any other OSU official,81 despite Charlotte

Remenyik’s demand that Strauss be precluded from treating the fencers she coached.

         520.    In the years before the reports at Student Health, by Students A, B and C, which

ultimately forced Strauss into early “retirement”, Dr. Lombardo was confronted with the reality

that Strauss was inappropriately showering with athletes82 and was (at a minimum) acting and

treating male athletes inappropriately.

         521.    Instead of conducting an actual investigation to determine what was occurring and

why such complaints were being lodged against Strauss, like other doctors who received similar

reports, Lombardo was simply satisfied after speaking to Strauss and chalking up the reports of

prolonged exams and sexual abuse as rumors.83




80
     Lombardo Dep. 195:23-25, 196:1. Nov. 12, 2019.
81
     Lombardo Dep. 195:8-10. Nov. 12, 2019.
82
     Lombardo Dep. 16:1-23. Nov. 12, 2019.
83
  Lombardo Dep. 95:12-25, 96:1-6, Nov. 12, 2019.
12 Q. Okay. Other than talking with Dr. Strauss, did you do any investigation of Dr. Strauss
being in the shower with athletes?
15 A. Not that I remember.
16 Q. Did you speak to any coaches about Dr. Strauss being in the shower with athletes?
18 A. I don't remember.
Q. For example, did you speak with the gymnastics coach?
21 A. Um, I don't know if I talked to Peter, no.
23 Q. Or any of the fencing coaches?
24 A. Um, I didn't talk to them -- I don't remember talking to them ever, so...
Page 96: 1 Q. Or any of the swimming coaches?
2A. Um, they're both my patients, so -- I don't remember talking to them about it, though.
4 Q. Or any of the wrestling coaches?
A. He was my patient, and I don't remember talking to him about it.

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         522.

         523.     When asked about what Remenyik’s complaints and what he did to investigate

them, Lombardo claimed amnesia.84

         524.     Further, despite the close proximity in time between Lombardo’s “investigation”

into Strauss and subsequent reports by the three male students at Student Health, no OSU official

ever alerted Lombardo to the fact that other, similar allegations against Strauss were made.85

         525.     More disturbing, the other OSU doctors deposed all testified that the cloud of

deception about Strauss’s ability to appropriately practice medicine in the athletics department

hung over all the other OSU medical departments as well.




84
  Lombardo Dep, 34:19-23, 38:13-25 (“I don’t recall the letter. So basically it’s going to be the
same answer to anything you ask.”) 39:13-24, 40:4-25, 41:1-11. Nov. 12, 2019.
85
     Lombardo Dep. 51:23-25, 52: 1-3, Nov. 12, 2019.

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          526.    Doctors John Lombardo, Ted Grace, and Roger Miller all similarly testified that

they did not share any information about Strauss with one and other, despite the fact Strauss was

actively treating innocent students while clear indicators of his dangerous proclivities swirled

throughout campus.

          527.    As described herein and in the Perkins Report, Dr. Grace handled three different

complaints from students in 1995 and 1996 about Strauss sexually assaulting them, yet never

shared this information with his colleagues or subordinates.

          528.    Keeping information about Strauss shrouded in secrecy was the status quo at OSU,

as confirmed by Grace’s deposition, where he testified that prior to his investigation into Strauss

in 1996, he had never been told by the Athletics Department staff, athletics coaches or student

trainers of the dozens of allegations about Strauss in their department that had been present for

years86 or that Strauss had been relieved of his wrestling team physician duties.87

          529.    Dr. Roger Miller worked side-by-side with Grace as the Chief of Preventative

Medicine and was then Lead Physician at OSU Student Health, but testified that the first time even

he knew about the extent and number of reports made to Grace at Student Heath about Strauss was

when he read the Perkins report in 2019.88

          530.    Dr. Grace never shared with Dr. Miller his concerns or that he had imposed time

restrictions on the length of Strauss’s genital exams or that he wanted Strauss to be chaperoned

during his exams.89

          531.    When asked about his reaction to learning all of this information for the first time


86
     Grace Dep. 93:15-25, 94:1-25, 95:1-25. Nov. 20, 2019.
87
     Grace Dep. 91:8-11. Nov. 20, 2019.
88
     Miller Dep. 190: 1-13. Feb 12, 2020.
89
     Miller Dep. 206:18-25, 207:1-7. Feb 12, 2020

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in 2019, Dr. Miller stated: “Well, I was appalled by the length of time that things had been

going on with Dr. Strauss and by the fact that I was not aware of any of those allegations at

the time he was working at Student Health”90, that he “was shocked by it”91, that he had known

all of this back in the 1990s he would have certainly had concerns about allowing Strauss to see

patients and would have investigated to stop Strauss from treating male students at the Men’s

Clinic.92

          532.    Dr. Miller said that he was likely kept in the dark about all the reports against

Strauss because Grace felt “it had been addressed.”93

          533.    Instead of alerting authorities, law enforcement, the medical board or anyone with

the ability to stop Strauss from practicing medicine, Grace testified that he did everything he

could94 and alluded to the fact that he should be patted on the back for being the first and only

person at OSU who limited Strauss’s ability to treat students.95

          534.    In fact, after Grace assisted in investigating Strauss and ultimately suspending

Strauss from Student Health after the three separate reports from Students A, B and C, Grace still

did not report Strauss to the Ohio Medical Board, until after Strauss actually reported Grace in

retaliation for the discipline. For four months, Grace sat on the information that Strauss sexually




90
     Miller Dep. 22:21-25. Feb 12, 2020. (emphasis added)
91
     Miller Dep. 271: 10-12. Feb 12, 2020.
92
     Miller Dep. 304: 8-25, 305:1-23. Feb 12, 2020.
93
     Miller Dep. 218: 4-20. Feb 12, 2020.
94
  Grace Dep. 315: 5-24. Nov. 20, 2019. (“But you can only do what counsel, HR, student affairs
supports. And I’m not saying they were standing in my way, but I was—they were giving me
advice and I was following it.”)
95
   Grace Dep. 315: 5-13. Nov. 20, 2019. (“…when it came to taking away clinical practice, I—I’m
the one that did. And I felt good about that. Ant it wasn’t easy. And, so, do you say do I wish I had
it different, I still feel like I dd the right thing.”)

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assaulted students and failed to report this to the board tasked with monitoring doctors’ medical

licenses.96

         535.     Aside from actively hiding and/or being hidden from relevant information about

Strauss’s abuse of innocent students, many of these physicians testified that they even found it

hard to believe that what Strauss was doing to students was sexual abuse.

         536.     The depositions of these physicians (all of whom have earned multiple degrees,

board certifications, accolades and conducted extensive medical research in their respective fields)

revealed their own lenses during the time period in which Strauss was assaulting students and

provided great insight into why many of the students didn’t know they were being victimized.

         537.     Under oath, Dr. William Malarkey, board certified in internal medicine and

endocrinology and metabolism, who has been practicing medicine for over 50 years, testified:

         “A. Sexual abuse -- this is a fact I learned 40 years ago, 50 years ago. It's called incest.
         It's very common in families. So chances are a high percent of your female patients have
         had sexual abuse.
         Q. What about male patients?
         A. We never thought that exists, but I'm sure that that's true also. Not maybe to the same
         extent. Probably not to the same extent.
         Q. You never thought male patients could be sexually abused?
         A. No.”97

         538.     In the same vein, when asked during his testimony if it would be appropriate for

a doctor at OSU in the 1990s to stroke a patient’s penis to the point of erection, Dr. Lombardo

answered “No.” But when asked if it was sexual abuse, he followed up “That would be

inappropriate.”98

         539.     Dr. Trent Sickles also testified that some patients would not know if the treatment



96
     Grace Dep. 276: 9-24, 278: 16-23. Nov. 20, 2019.
97
     Malarkey Dep. 140: 2-14. Nov. 22, 2019.
98
     Lombardo Dep. 215:3-10, Nov. 12, 2019.

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they were getting from a physician was medically appropriate given their symptoms and that it’s

possible that a patient would have no idea they were being sexually abused by the doctor.99

          540.    In discussing findings by Perkins Coie regarding actions by Strauss that

constituted sexual assaults, Dr. Forrest Smith confirmed that “For some situations” it would require

the expertise of a medical professional to determine if the actions were indeed abuse.100

          541.    Most appalling, though, was the deposition of Dr. Grace, who repeatedly said that

actions taken by Strauss were inappropriate but not assault. He clarified “But assault to me is

forcing on someone… Most medical exams are being done by consent and it’s hard to call that

assault.”101

          542.    The fact that these doctors, all present at OSU in the 1990s, could not readily

identify Strauss’s actions as sexual abuse provides insight into why teenaged and 20-something

students, with no medical training or training in identifying sexual violence, weren’t always aware

that they had been victimized by Strauss.

          543.    Grace also identified another fact that may have discouraged victims from coming

forward—Strauss’s demeanor.

          544.    Grace testified that Strauss was vindictive102 and despite the fact that Grace was

his boss, Strauss “intimidated the heck out of [him],”103 saying “he could just rip you apart with is

eyes and his speech.”104




99
     Sickles Dep. 168: 16-19. Nov. 21, 2019.
100
      Smith Dep. 113: 15-19. Feb. 13, 2020.
101
      Grace Dep. 323: 15-19. Nov. 20, 2019.
102
      Grace Dep. 374: 1-12. Nov. 20, 2019.
103
      Grace Dep. 76: 1-3, 374: 1-12. Nov. 20, 2019.
104
      Grace Dep. 75: 19-21. Nov. 20, 2019.

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          545.    Even more telling was Dr. Miller’s statement that Grace did not get easily

intimidated and that he had seen Grace in many tough situations.105

          546.    Richard Strauss’s callous and cruel behavior was enough to give his own boss

pause, and it does not take a vivid imagination to envision a common scenario where he intimidated

and inflicted fear in his young, innocent, student victims.

          547.    Most troubling still, even if all these doctors had been given the appropriate notice

and warnings about Strauss’s sexual assault of students, they all repeatedly testified that OSU had

no policies or safeguards in place to recognize or report sexual abuse during Strauss’s tenure (and

until at least 2000).

          548.    The lack of any procedure and/or training on how to report sexual abuse was

indicative of OSU’s institutional indifference of the rights of its students, particularly victims of

sexual abuse.

          549.    When asked point-blank in his deposition, “When you worked at OSU, if you

yourself witnessed sexual abuse of a patient by a doctor, did you understand that you had any

reporting obligations to anybody?” Lombardo responded, “No. And -- no, not that I did (sic).”106

          550.    Lombardo (who was the Director of OSU Sports Medicine at the time) said that

he was unaware that he had any obligation to report Strauss to the medical board even if he had

determined Strauss was doing inappropriate exams of the athletes.107

          551.    Lombardo also responded in the negative to the following inquiries: 1) whether

OSU trained him to report allegations of sexual abuse/assault, 2) whether there were any policies




105
      Miller Dep. 241: 10-12. Feb. 12, 2020.
106
      Lombardo Dep. 115: 1-5, Nov. 12, 2019.
107
      Lombardo Dep. 24: 13-25, 25: 1-12, 32: 21-24, 50: 1-8. Nov. 12, 2019.

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or procedures in place to guide him in handling allegations of sexual abuse/assault, 3) whether he

received training regarding how to investigate allegations of sexual abuse/assault, 4) whether he

even knew what a “mandated reporter” was, or 5) whether he, as a physician, was a mandated

reporter.108

          552.    Dr. Sickles confirmed Lombardo’s testimony that he wasn’t aware of any OSU

policies related to reporting sexual abuse, investigating allegations of sexual abuse, or policies on

how to report issues with personnel.109 He further confirmed that he received no training from

OSU on how to report or investigate claims of sexual misconduct during his tenure.

          553.    Dr. Miller stated that the first time he received training from OSU about sexual

harassment was “probably around 2000”.110

          554.    And Doctors Grace and Malarkey said under oath that they were not aware of any

policies regarding investigating sexual misconduct during their tenures at OSU.111

          555.    The weight of the testimony from these accomplished physicians regarding their

lack of knowledge about how, what or who to report sexual abuse to and OSU’s lack of any

procedure for reporting or investigating sexual misconduct speaks volumes about how lost and

confused a student who wanted to report sexual assault by an OSU doctor would be.

          556.    As with the individuals who led OSU’s student health and sports medicine

programs, if a student wanted to report Dr. Strauss, there was no guidance or policies or avenues

for doing so.

          557.    And in light of the tight-lipped, under-the-rug culture at OSU, any report—or


108
      Lombardo Dep. 23: 1-23, Nov. 12, 2019. (emphasis added)
109
      Sickles Dep. 48: 1-17, 92: 6-23. Nov. 21, 2019.
110
      Miller Dep. 45: 5-14, 46: 11-19. Feb. 12, 2020.
111
      Grace Dep. 131: 10-13. Nov. 20, 2019.; Malarkey Dep. 85: 15-25. Nov. 22, 2020.

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attempt to investigate the existence of other, prior reports—would have met a dead end.

          558.     In short, the testimony of these six (6) physicians establish the culture of OSU

during Strauss’s time at the University: It was a widespread and intentional culture of silence,

cover-up, and deliberate indifference to sex crimes. When confronted with reports of Strauss’s

behavior, officials either accepted his explanations and moved on, or ignored the reports because

they didn’t know how to escalate them. This official policy (a lack of policy) substantially

increased the risk that students would suffer sexually harassing and abusive misconduct, and

Plaintiffs did suffer this abuse.

          559.     If a single one of these OSU physicians had wanted to “do the right thing” and

prevent Strauss from treating and abusing students, they didn’t even know how or where to report

him within the OSU system, just like the innocent students Strauss victimized.

                                 CLASS ACTION ALLEGATIONS

          560.     Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs, including those set forth in the parties’ originally allegations previously filed as Case

No. 2:18-cv-00692-MHW-EPD (Garrett, et al. v. OSU, filed July 16, 2018) and Case No. 2:21-

cv-2542-MHW-EPD (Alf et al. v. OSU, filed May 14, 2021).

          561.     Plaintiffs bring this action individually and pursuant to Federal Rule of Civil

Procedure 23(b)(3) or (c)(4) on behalf of themselves and the following “Nationwide Class”:

                  All male students, student athletes, invitees, and alumni who (1) were examined by
          or interacted with or endured any contact with Dr. Richard Strauss from 1978-1998 or (2)
          participated in a varsity athletic sport that utilized the locker rooms, showers, and/or saunas
          at Larkins Hall at any time between 1978 and 1998. Excluded from the class are (1)
          individuals who have filed suit as of the date of this Amended Consolidated Class Action
          Complaint and whose claims remain active, including those currently filed in Case No(s):
          18-cv-0736, 19-2462, 20-3817, and 23-1048; and (2) individuals who filed suit previously
          but who have already settled their claims against Ohio State University.112

112
      This includes the following cases, and numerous other individuals: 2:19-cv-2237, 2:19-cv-

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       562.     The Classes consist of hundreds, if not thousands, of men throughout the United

States, making joinder impracticable, in satisfaction of Fed. R. Civ. P. 23(a)(1). The exact size of

the Class and the identities of the individual members are ascertainable through records maintained

by the Ohio State.

       563.     The claims of Plaintiffs are typical of the Classes. The claims of the Plaintiffs and

the Classes are based on the same legal theories and arise from the same factual pattern involving

the Defendant’s misconduct.

       564.     There are many questions of law and fact common to the claims of Plaintiffs and

the Class, and those questions predominate over any questions that may affect only individual

Class members within the meaning of Fed. R. Civ. P. 23(a)(2), (b)(3), and (c)(4).

       565.     Common questions of fact or common questions of law affecting members of the

Class include, but are not limited to, the following:

                a. Whether Defendant violated Title IX of 20 U.S.C. §1681?

                b. Whether Defendant displayed deliberate indifference to the sexual abuse,
                   assaults, and discrimination at Ohio State?

                c. Whether Defendant had knowledge or notice that Richard Strauss was
                   engaging in sexual abuse of Ohio State’s male students and student-
                   athletes?

                d. Whether Defendant concealed, dismissed, discouraged or rebuffed
                   complaints that, if handled reasonably and timely (and in compliance with
                   Title IX) would have prevented future abuse?

                e. Whether Plaintiffs had reason to investigate or could have discovered
                   OSU’s role in causing their abuse prior to April 2018?

                f. Whether Plaintiffs were damaged by the violations caused by Defendants?



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cv-1188, 2:19-cv-2429, 2:20-cv-1385, and 2:19-cv-4433.

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        566.        Absent a class action, most of the members of the Class would find the cost of

litigating their claims to be prohibitive and would have no effective remedy. The class treatment of

common questions of law and fact is also superior to multiple individual actions or piecemeal

litigation, particularly as to liability, in that it conserves the resources of the courts and the litigants

and promotes the consistency and efficiency of adjudication.

        567.        Plaintiffs will fairly and adequately represent and protect the interests of the

Class. Plaintiffs have retained counsel with substantial experience in prosecuting complex litigation

and class actions, and who have expertise in prosecuting personal injury, sexual abuse, and civil

rights cases on behalf of vulnerable victims.

        568.        Plaintiffs and their counsel are committed to vigorously prosecuting this action

on behalf of the other Class members, and they have the financial resources and experience in

handling sex abuse cases to do so.

        569.        Plaintiffs have individually executed contingency fee contracts with their

counsel, which entitles counsel to the right to assert a lien for all work done which results in a

monetary recovery. Counsel hereby provides notice of its intent to assert an attorneys’ charging lien

on any settlement or judgment resulting from this action.

        570.        Neither Plaintiffs nor their counsel have any interests adverse to those of the

other members of the Class.

        571.        Plaintiffs and the Class will have personal injury damages that are individualized

and that can be managed separately.

                                          CLAIM FOR RELIEF

                             Violation of Title IX, 20 U.S.C. § 1681, et seq.


        572.        Plaintiffs incorporate by reference the allegations contained in the previous


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paragraphs, including those set forth in the parties’ originally allegations previously filed as Case

No. 2:18-cv-00692-MHW-EPD (Garrett, et al. v. OSU, filed July 16, 2018) and Case No. 2:21-cv-

2542-MHW-EPD (Alf et al. v. OSU, filed May 14, 2021).

       573.        Title IX, 20 U.S.C. § 1681(a), states: “No person in the United States shall, on

the basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any education program or activity receiving Federal financial assistance….”

       574.        Title IX also protects third parties from sexual harassment or violence in a

school’s education programs and activities.

       575.        Under Title IX, sexual harassment is any type of unwelcome conduct of a sexual

nature and “includes unwelcome sexual advances, requests for sexual favors, and other verbal,

nonverbal, or physical conduct of a sexual nature.”

       576.        Plaintiffs are “persons” within the meaning of 20 U.S.C. §1681(a).

       577.        Defendant OSU receives federal financial assistance and is therefore subject to

the provisions of Title IX of the Education Act of 1972, 20 U.S.C. §1681, et seq.

       578.        As the U.S. Department of Education’s Office of Civil Rights has explained,

Title IX covers all programs of a school, and extends to sexual harassment and assault by

employees, students, and third parties.

       579.        Dr. Strauss’s actions and conduct were carried out in his capacity as a team

doctor and assistant medical professor of OSU or otherwise as an employee or agent of the

University, and/or in the context of OSU programs or activities.

       580.        At all times relevant times, OSU had the authority to control, direct, discipline,

report, limit, and/or terminate Dr. Strauss.

       581.        Dr. Strauss’s sexual assault, battery, molestation, and harassment of Plaintiffs,

including the fondling of testicles, fondling and masturbation of penises, nonconsensual digital anal


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penetration, sodomization, and lewd and voyeuristic harassment in communal showers, was sexual

discrimination and sexual harassment under Title IX.

        582.       Pursuant to Title IX, Defendant OSU was obligated and required to investigate

all allegations of sexual assault, battery, molestation, and harassment, including allegations that

sexual assault, battery, molestation, and harassment has been committed by an employee, student,

or third party.

        583.       Defendant OSU owed Plaintiffs duties under Title IX, which duties included not

to engage in and be deliberately indifferent to known sexual assault, battery, molestation,

harassment, or any other form of sexual misconduct.

        584.       An “appropriate person” of OSU, within the meaning of Title IX, including but

not limited to, former Athletic Director and Assistant University Vice President Andy Geiger,

former Athletic Director Jim Jones, former OSU medical director Dr. John Lombardo, former OSU

Vice President David Williams, former OSU student health physician Dr. Roger Miller, former

head wrestling coach Russell Hellickson, former head tennis coach John Daly, Director of Student

Health Ted Grace, M.D., former assistant athletic trainer Bill Davis (later Director of Athletic

Training at OSU), current university president Dr. Michael Drake, and other OSU faculty, staff,

administrators, executives and officials (over the course of forty years) had actual and/or

constructive notice of sexual assault, battery, molestation, and harassment committed by Dr. Strauss

as described herein this Complaint.

        585.       Thus, the complaints of sexual abuse at Ohio State involving Dr. Strauss were

not left unreported at the level of athletes and assistant coaches. Rather, the harassment and sexual

abuse was reported to head coaches of multiple sports, Ohio State administrators, Ohio State lead

physicians and medical directors, and to the head of the Athletic Department. But these officials

turned a blind eye to the abuse, perpetuating OSU’s culture of indifference, and creating a


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heightened risk of sexual abuse for other students.

       586.        Former wrestling head coach, Russell Hellickson, has publicly stated in 2018

that it was widely known that Dr. Strauss was engaging in improper sexual behavior and that he

reported this behavior to higher authorities within OSU, but OSU authorities did nothing.

       587.        OSU could have prevented Plaintiffs’ abuse had OSU taken appropriate and

reasonable action on prior complaints about Strauss’s conduct.

       588.        OSU created a sexually hostile culture in its athletic and student health programs,

which substantially heightened the risk that Plaintiffs and others would be sexually harassed and/or

assaulted.

       589.        OSU has failed and continues to fail to carry out its duties to investigate and take

corrective action, or to make appropriate recommendations, under Title IX following the complaints

of sexual assault, as described herein.

       590.        Despite the complaints and concerns conveyed by athletes and coaches to

Defendant OSU and its agents and/or representatives, as described herein, sexual abuse and

misconduct allegations went unaddressed, which violated reporting policies and procedures and

Title IX and was done in a manner that displayed deliberate indifference to the sexual misconduct

and abuse that was occurring.

       591.        The sheer scale of the abuse (involving nonathletes and student-athletes from at

least 14 sports) multiplied by the years it went on for (nearly 20 years) makes it implausible to

suggest that Defendant OSU (through its agents and/or representatives) did not know of the endemic

sexual abuse.

       592.        The Perkins Coie Report independently confirms this and explicitly names those

at OSU who were aware of the abuse throughout Strauss’s twenty-year tenure.

       593.        The Clery Act Report released by OSU on October 1, 2019, independently


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confirms the magnitude of abuse.

        594.        OSU acted with deliberate indifference by failing to respond to the allegations

of sexual assault, abuse, and molestation in light of the known circumstances, Dr. Strauss’s conduct

toward male athletes, and the scale of the abuse, which occurred both in private examination rooms

and also publicly in the showers and training facilities by Dr. Strauss and the other sexual predators

allowed to roam freely within Larkins Hall.

        595.        OSU failed to adequately supervise or otherwise ensure Dr. Strauss complied

with Title IX and other state and federal laws even though OSU had gained actual knowledge that

Dr. Strauss posed a substantial risk of additional sexual abuse of male students and student-athletes.

        596.        OSU’s deliberate indifference before, during, and after the sexual assault,

battery, molestation, and harassment of Plaintiffs was in violation of Title IX, 20 U.S.C. § 1681, et

seq., and its regulations.

        597.        OSU’s failure to implement any policies or procedures for reporting or

investigating sexual abuse until at least 2000 heightened the risk of assault and resulted in Plaintiffs

being subject to further sexual assault, battery, molestation, harassment and a sexually hostile

environment.

        598.        OSU’s failure to properly and appropriately investigate and take corrective

action for the complaints of Dr. Strauss’s and other sexual predators’ sexual assault, battery,

molestation, and harassment heightened the risk of assault and resulted in Plaintiffs being subject

to further sexual assault, battery, molestation, harassment, and a sexually hostile environment.

        599.        OSU’s failure to promptly and appropriately investigate and remedy and respond

to the sexual assaults after receiving notice subjected Plaintiffs to further sexual assault, battery,

molestation, harassment, and a sexually hostile environment, effectively denying them access to

educational opportunities at OSU, including appropriate medical care.


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       600.        OSU’s failure to promptly and appropriately investigate and remedy and respond

to the sexual assaults after receiving notice subjects Plaintiffs to harm and suffering today.

       601.        In sum, OSU exhibited deliberate indifference to the rights of Plaintiffs in the

following nonexclusive ways:

           a.      OSU legitimized Strauss’s conduct as ordinary medical care, such as by

                   ignoring, rebuffing, or joking about student complaints;

           b.      OSU legitimized Strauss’s conduct as ordinary medical care, such as by

                   continuing to employ and promote him, and by increasing his access to students;

           c.      Even after limiting Strauss’s ability to see students in the Athletic Department

                   and Student Health, OSU allowed Strauss to continue teaching and to open a

                   Men’s Clinic off campus that was advertised to OSU students in the school

                   newspaper;

           d.      OSU failed to investigate or elevate numerous complaints of sexual abuse by

                   Strauss;

           e.      OSU failed to maintain or hid records of student complaints about Strauss’s

                   abuse;

           f.      OSU failed to inform students, as well as many staff members, about Strauss’s

                   abuse until 2018;

           g.      OSU failed to investigate its own enabling of Strauss until the Perkins Report

                   was released in 2019.

       602.        Prior to the release of the Perkins Coie Report, OSU repeatedly failed to offer

counseling services to current or former victims of Dr. Strauss, including Plaintiffs.

       603.        As the Perkins Coie Report independently verifies, multiple appropriate persons

at OSU knew of the sexual abuse of students by Richard Strauss, they were deliberately indifferent

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to the abuse, and Plaintiffs were sexually abused as a result of OSU’s indifference. These are facts,

not legal conclusions.

       604.        Plaintiffs did not and could not have known of OSU’s role in Strauss’s abuse of

them until at least 2018 or 2019. Until 2018, none of the plaintiffs had any reason to know of OSU’s

role in their abuse—none of them had any reason to believe that OSU knew Strauss was an abuser,

and could have stopped the abuse, before they were ever his patients. All of the plaintiffs allege

they had no reason to know of OSU’s role in causing their harassment and abuse—and OSU’s

knowledge of that abuse—until 2018 (when media reports on OSU’s investigation revealed rampant

sexual abuse by Dr. Strauss for decades) or 2019 (when the Perkins Report confirmed and detailed

OSU’s knowledge of the same).

       605.        As a direct and proximate result of the OSU’s actions and inactions, Plaintiffs

have suffered and continue to suffer pain of mind and body, mental anguish, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self- esteem,

disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life, have sustained

and continue to sustain loss of earning and loss of earning capacity, and have incurred and will

continue to incur expenses for medical and psychological treatment, therapy, and counseling.

       606.        In subjecting Plaintiffs and the Class members to the wrongful treatment herein

described, and through its violations of Title IX, OSU, in its effort to “save face” and avoid bad

publicity, acted willfully and maliciously with the intent to harm Plaintiff and the Class members,

and in conscious disregard of Plaintiff and the Class members’ rights, so as to constitute malice and

oppression. Plaintiff and the Class members are therefore entitled to the recovery of punitive

damages, in an amount to be determined by the court, against OSU, in a sum to be shown according

to proof.


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       607.         Furthermore, Plaintiffs request the award of attorneys’ fees pursuant to 42

U.S.C. § 1988.

                                        PRAYER FOR RELIEF

             Wherefore, Plaintiffs respectfully request that this Court will:

             a.     Enter judgment against Defendant in such amounts as will fully and adequately

   compensate Plaintiffs for the damages they have suffered, in an amount to be determined at trial;

             b.     Appoint Plaintiffs as class representatives;

             c.     Appoint Plaintiffs’ counsel as counsel for the Class;

             d.     Award Plaintiffs punitive damages against Defendants in an amount to be

   determined by a jury for Defendant’s violations of federal law;

             e.     Award Plaintiffs pre-judgment and post-judgment interest;

             f.     Award Plaintiffs their actual expenses of litigation, including reasonable

   attorney’s fees;

             g.     Enforce an attorneys’ lien on all settlement funds recovered, pursuant to

   Plaintiffs’ contractual agreements with undersigned counsel; and

             h.     Award Plaintiffs such other and further relief as the Court deems just and

   proper.



                                                  Respectfully Submitted,

                                                  /s/ Simina Vourlis
                                                  Simina Vourlis
                                                  The Law Office of Simina Vourlis
                                                  856 Pullman Way
                                                  Columbus, OH 43212
                                                  (614) 487-5900
                                                  (614) 487-5901 fax
                                                  svourlis@vourlislaw.com


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                                    Rex A. Sharp
                                    Ryan C. Hudson
                                    Larkin Walsh
                                    Sarah T. Bradshaw
                                    SHARP LAW, LLP
                                    4820 W. 75th Street
                                    Prairie Village, KS 66208
                                    (913) 901-0505
                                    (913) 901-0419 fax
                                    rsharp@midwest-law.com
                                    rhudson@midwest-law.com
                                    lwalsh@midwest-law.com
                                    sbradshaw@midwest-law.com

                                    Robert Allard
                                    CORSIGLIA, MCMAHON AND ALLARD, LLP
                                    96 North Third Street, Suite 620
                                    San Jose, CA 95112
                                    (408) 289-1417
                                    (408) 289-8127 fax
                                    rallard@cmalaw.net

                                    Stephen Estey
                                    ESTEY & BOMBERGER LLP
                                    2869 India Street
                                    San Diego, CA 92103
                                    619-295-0035
                                    619-295-0172 fax
                                    steve@estey-bomberger.com

                                    Daniel R. Karon (#0069304)
                                    KARON LLC
                                    700 W. St. Clair Ave., Suite 200
                                    Cleveland, OH 44113
                                    Tel.: 216.622.1851
                                    dkaron@karonllc.com

                                    Joseph Sauder
                                    SAUDER SCHELKOPF LLC
                                    555 Lancaster Avenue
                                    Berwyn, PA 19312
                                    (610) 200-0580
                                    (610) 421-1326
                                    jgs@sstriallawyers.com
                                    COUNSEL FOR PLAINTIFFS


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                                CERTIFICATE OF SERVICE


        It is hereby certified that a true and correct copy of the foregoing document was filed and
served, via the Court’s CM/ECF system on September 22, 2023, and a copy was delivered via
email to counsel having previously appeared for Defendant OSU in original cases No. 2:18-cv-
00692-MHW-EPD (Garrett, et al. v. OSU, filed July 16, 2018) and No. 2:21-cv-2542-MHW-
EPD (Alf et al. v. OSU, filed May 14, 2021).


                                              By:    /s/ Simina Vourlis
                                                     Attorney for Plaintiffs




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